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  12
                        IN THE UNITED STATES DISTRICT COURT
  13
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
  14
     B&L PRODUCTIONS, INC., d/b/a            CASE NO.: 8:22-cv-01518 JWH (JDEx)
  15 CROSSROADS OF THE WEST;
     GERALD CLARK; ERIC JOHNSON;             FIRST AMENDED COMPLAINT FOR
  16 CHAD LITTRELL; JAN STEVEN               DECLARATORY & INJUNCTIVE
     MERSON; CALIFORNIA RIFLE &              RELIEF
  17 PISTOAL ASSOCIATION,
     INCORPORATED; ASIAN PACIIC              (1) VIOLATION OF 42 U.S.C. § 1983
  18 AMERICAN GUN OWNERS                     [FREE SPEECH - POLITICAL];
     ASSOCIATION; SECOND
  19 AMENDMENT LAW CENTER, INC.; (2) VIOLATION OF 42 U.S.C. § 1983
     and SECOND AMENDMENT                    [FREE SPEECH-MIXED POLITICAL/
  20 FOUNDATION,                             COMMERCIAL];
  21                          Plaintiffs,        (3) VIOLATION OF 42 U.S.C. § 1983
                                                 [FREE SPEECH-COMMERCIAL];
  22                   v.
                                                 (4) VIOLATION OF 42 U.S.C. § 1983
  23 GAVIN NEWSOM, in his official               [PRIOR RESTRAINT ON SPEECH];
     capacity as Governor of the State of
  24 California; ROB BONTA, in his official      (5) VIOLATION OF 42 U.S.C. § 1983
     capacity as Attorney General of the         [RIGHT TO ASSEMBLY];
  25 State of California; KAREN ROSS, in
     her official capacity as Secretary of       (6) VIOLATION OF 42 U.S.C. § 1983
  26 California Department of Food &             [EQUAL PROTECTION];
     Agriculture and in his personal capacity;
  27 TODD SPITZER, in his official capacity      (7) VIOLATION OF 42 U.S.C. § 1983
     as District Attorney of Orange County;      [SECOND AMENDMENT].
  28 32nd DISTRICT AGRICULTURAL
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   1 ASSOCIATION; DOES 1-10;                 DEMAND FOR JURY TRIAL
   2                        Defendants.      NOTICE OF
                                             UNCONSTITUTIONALITY OF
   3                                         STATE STATUTE
   4                                         NOTICE OF RELATED CASE
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   1                                     INTRODUCTION
   2         1.     Plaintiff B & L PRODUCTIONS, INC., d/b/a CROSSROADS OF THE
   3   WEST has operated popular, safe, heavily regulated, legal, and family-friendly gun
   4   shows as a business in California for over 30 years, including at the Orange County
   5   Fair & Event Center (“the Fairgrounds”).
   6         2.     Crossroads produces gun shows at the Fairgrounds where like-minded
   7   individuals gather to engage in commerce related to, and necessary for, the lawful
   8   and regulated exercise of Second Amendment rights for themselves, their exhibitors,
   9   their patrons, their customers, and the general public. This safe and regulated
  10   marketplace promotes public safety, even for people who do not attend gun shows
  11   because it will tend to reduce the unregulated transfer of firearms within Orange
  12   County. Furthermore, by providing a convenient forum for Californians to exercise
  13   their right to acquire firearms locally, gun shows at the Fairgrounds will have the
  14   tendency to discourage the sale and importation of firearms from other states with
  15   less strict gun laws than California.
  16         3.     Plaintiffs Gerald Clark, Eric Johnson, Chad Littrell, Jan Steven Merson,
  17   California Rifle & Pistol Association, Incorporated, Second Amendment Law
  18   Center, Inc., Asian Pacific American Gun Owners Association, and Second
  19   Amendment Foundation, Inc., attend and participate in the Crossroads gun show to
  20   engage in First Amendment activities that are both necessary and essential to the
  21   open, robust, and lawful exercise of their Second Amendment rights. CRPA also has
  22   members who attend gun shows and sell ammunition, firearms, and precursor parts.
  23         4.     At the gun show, Plaintiffs associate with like-minded people,
  24   participate in public discussions, attend informational forums, distribute and collect
  25   information, provide training, make offers for sale, make offers to buy, and engage
  26   in legal and political discussions related to the Second Amendment, which are all
  27   forms of speech protected by the First Amendment. Discussions include, but are not
  28   limited to, firearms and ammunition, firearm technology, firearm safety, and firearm
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   1   law and politics. Participants also exchange information about where to hunt and
   2   where to practice shooting, where and from whom to receive training, gunsmithing,
   3   gun repair, gun art, and many other topics that arise from the right to acquire, own,
   4   possess, enjoy, and celebrate arms as a quintessentially American artifact with
   5   constitutional significance.
   6          5.    Defendants are government actors who, through the adoption and
   7   enforcement of Senate Bill 264 (Min), codified at California Penal Code section
   8   27575,1 and Senate Bill 915 (Min), codified at California Penal Code section
   9   27573,2 which prohibits the sale of firearms, ammunition, and “firearm precursor
  10   parts” at the Fairgrounds and all state owned property respectively, with the
  11   intention and effect of shuttering gun show events altogether, have engaged in and
  12   will continue to engage in action that violates Plaintiffs’ constitutional rights to free
  13   speech, assembly, and equal protection. Their actions also constitute prior restraint.
  14          6.    This action seeks declaratory and injunctive relief against Defendants
  15   for violating the United States Constitution. It also seeks damages for lost profits,
  16   lost opportunities, and diminished marketing value, and reimbursement for
  17   reasonable attorney’s fees, costs, and other expenses in bringing this action.
  18                              JURISDICTION AND VENUE
  19          7.    The Court has original jurisdiction of this civil action under 28 U.S.C. §
  20   1331 because the action arises under the Constitution and laws of the United States,
  21   thus raising federal questions. The Court also has jurisdiction under 28 U.S.C. §
  22   1343(a)(3) and 42 U.S.C. § 1983 since this action seeks to redress the deprivation,
  23   under color of the laws, statutes, ordinances, regulations, customs and usages of the
  24   State of California and political subdivisions thereof, of rights, privileges or
  25   immunities secured by the United States Constitution and by Acts of Congress
  26
          1
            Plaintiffs refer to the challenged law, California Penal Code section 27575, as
  27   SB 2264 throughout this complaint.
            Plaintiffs refer to the challenged law, California Penal Code section 27573, as
  28   SB 915 throughout this complaint.
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   1          8.    Plaintiffs’ claims for declaratory and injunctive relief are authorized by
   2   28 U.S.C. §§ 2201 and 2202, respectively, and their claim for attorneys’ fees is
   3   authorized by 42 U.S.C. § 1988.
   4          9.    Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because the
   5   32nd District Agricultural Association is located within this district and a substantial
   6   part of the events or omissions giving rise to Plaintiffs’ claims occurred in this
   7   district.
   8                                         PARTIES
   9                                         [Plaintiffs]
  10          10.   Plaintiff B&L PRODUCTIONS, INC., d/b/a CROSSROADS OF THE
  11   WEST, is a for-profit event promoter operating in several western states. Crossroads
  12   is in the business of promoting and organizing trade shows throughout the state of
  13   California and other western states, including their long-running gun show events
  14   held at the Orange County Fair & Event Center (“the Fairgrounds”) operated under
  15   the d/b/a Crossroads of the West (“Crossroads”). Before the adoption and
  16   enforcement of SB 264 and SB 915, Crossroads was the largest vendor of gun show
  17   events in California and at the Fairgrounds. Typically, thousands of people attend
  18   the gun show on each of the weekends they are held. Crossroads provides the space
  19   for these like-minded people to assemble. They have successfully produced and
  20   operated multiple safe, legal, and family-friendly gun show events in California and
  21   at the Fairgrounds every year for over 30 years. But for Defendants’ adoption and
  22   enforcement of SB 264 and SB 915, Plaintiff Crossroads would immediately resume
  23   producing and promoting gun show events at the Fairgrounds.
  24          11.   Plaintiff GERALD CLARK is a resident of Santa Ana, California, and
  25   he is an NRA certified instructor. Before the implementation of SB 264 and SB 915,
  26   he regularly attended gun shows at the Fairgrounds to purchase firearms,
  27   ammunition, parts for firearms already owned, and materials to help him with his
  28   training and as a gun owner to be more proficient. He has taught gun safety and
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   1   training courses for 12 years and has taught those courses at the Crossroads gun
   2   show at the Fairgrounds as a Chief Range Safety Officer and Certified Trainer.
   3   During the training courses, he talks to others about their rights, the importance of
   4   membership in the CRPA, and the Second Amendment. SB 264 and SB 915 burden
   5   his right to engage in otherwise lawful commercial speech in a public forum and
   6   restricts his ability to purchase ammunition, firearms, and parts for lawful purposes.
   7   And because the ban is intended to make gun shows less profitable and effectively
   8   shutter them, it also restricts his right to engage in the unique types of political,
   9   educational, and commercial speech that takes place at the gun show. But for
  10   Defendants’ adoption and enforcement of SB 264 and SB 915, Plaintiff Clark would
  11   continue attending and participating in the Crossroads gun show events at the
  12   Fairgrounds.
  13         12.      Plaintiff ERIC JOHNSON is a resident of Whittier, California, and he
  14   is a Certified Trainer, Range Safety Expert, retired coach, and Chief Range Safety
  15   Officer. Before the implementation of SB 264 and SB 915, he regularly attended
  16   gun shows at the Fairgrounds to purchase firearms, ammunition reloading supplies,
  17   ammunition, parts for the firearms he owns, materials for caring for his firearms, and
  18   much more. Plaintiff Johnson also attended the Crossroads gun show at the
  19   Fairgrounds to engage in expressive activities with like-minded people, including
  20   discussions related to firearms, ammunition, and firearm accessories, the shooting
  21   sports, politics, and the Second Amendment. He regularly sets up and works the
  22   CRPA booths at gun shows. SB 264 and SB 915 burden his right to engage in
  23   otherwise lawful commercial speech in a public forum and restricts his ability to
  24   purchase ammunition, firearms, and parts for lawful purposes. And because the ban
  25   is intended to make gun shows less profitable and effectively shutter them, it also
  26   restricts his right to engage in the unique types of political, educational, and
  27   commercial speech that takes place at the gun show. But for Defendants’ adoption
  28   and enforcement of SB 264 and SB 915, Plaintiff Johnson would continue attending
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   1   and participating in the Crossroads gun show events at the Fairgrounds.
   2         13.    Plaintiff CHAD LITTRELL is a resident of La Habra, CA and owns
   3   Vytamenc 22 Tactical. Before the implementation of SB 264 and SB 915, his
   4   company was a regular vendor at the Crossroads gun shows at the Fairgrounds. At
   5   these events, he would sell uppers, precursor parts and AR-15 rifles and discuss
   6   issues regarding firearms, ammunition, and gun safety with customers of the gun
   7   show. Plaintiff Littrell also attended the Crossroads gun show at the Fairgrounds to
   8   engage in expressive activities with like-minded people, including discussions
   9   related to firearms, ammunition, and firearm accessories, the shooting sports,
  10   politics, and the Second Amendment. SB 264 and SB 915 burden his right to engage
  11   in otherwise lawful commercial speech in a public forum and restricts his ability to
  12   purchase ammunition, firearms, and parts for lawful purposes. And because the ban
  13   is intended to make gun shows less profitable and effectively shutter them, it also
  14   restricts his right to engage in the unique types of political, educational, and
  15   commercial speech that takes place at the gun show. Because of the essential
  16   shutting down of gun shows at the Fairgrounds, Plaintiff Littrell had to close his
  17   business. But for Defendants’ adoption and enforcement of SB 264 and SB 915,
  18   Plaintiff Clark would re-open his business and continue attending and participating
  19   in the Crossroads gun show events at the Fairgrounds.
  20         14.    Plaintiff JAN STEVEN MERSON is a resident of Fullerton, California,
  21   and he owns Merson’s Machining Tool Making and Gunsmithing. Before the
  22   implementation of SB 264 and SB 915, his company (then known as Merson’s
  23   Custom Tooling & Gunsmith) was a regular vendor at the Crossroads gun shows at
  24   the Fairgrounds. At these events, he would sell “firearm precursor parts”—which are
  25   legal products in California and are not considered firearms by legal definition.
  26   Plaintiff Merson also attended the Crossroads gun show at the Fairgrounds to engage
  27   in expressive activities with like-minded people, including discussions related to
  28   firearms, ammunition, and firearm accessories, the shooting sports, politics, and the
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   1   Second Amendment. SB 264 and SB 915 burden his right to engage in otherwise
   2   lawful commercial speech in a public forum and restricts his ability to purchase
   3   ammunition, firearms, and parts for lawful purposes. And because the ban is
   4   intended to make gun shows less profitable and effectively shutter them, it also
   5   restricts his right to engage in the unique types of political, educational, and
   6   commercial speech that takes place at the gun show. But for Defendants’ adoption
   7   and enforcement of SB 264 and SB 915, Plaintiff Merson would continue attending
   8   and participating in the Crossroads gun show events at the Fairgrounds.
   9         15.    Plaintiff ASIAN PACIFIC AMERICAN GUN OWNERS
  10   ASSOCIATION (“APAGOA”) is a nonprofit organization incorporated under the
  11   laws of Texas and registered with the California Secretary of State to do business in
  12   the state of California. APAGOA is a community of gun owners with an Asian
  13   Pacific American (“APA”) heritage. It’s core focus is to promote safe and
  14   responsible gun ownership within the APA community by providing educational
  15   materials and other resources to its members and other interested parties. APAGOA
  16   advocates for firearm safety, education, and community-building initiatives. And it
  17   strives to educate and empower the APA gun owner community so they can use
  18   their firearms safely and responsibly. It brings this action on behalf of its
  19   approximately 270 members and supporters who reside in California and, but for the
  20   implementation of SB 264 and SB 915, would attend and participate in the
  21   Crossroads gun show events at the Fairgrounds.
  22         16.    Plaintiff CALIFORNIA RIFLE & PISTOL ASSOCIATION,
  23   INCORPORATED (“CRPA”) is a nonprofit membership organization incorporated
  24   under the laws of California, with headquarters in Fullerton, California. Among its
  25   other activities, CRPA works to preserve and expand constitutional and statutory
  26   rights of gun ownership, including the right to self-defense and the right to keep and
  27   bear arms. CRPA accomplishes this through its educational offerings, publications,
  28   member engagement events, and legislative advocacy and initiatives. CRPA has
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   1   individual members and business affiliates that attend gun shows. Before the
   2   implementation of SB 264 and SB 915, CRPA and many of its members were
   3   regular vendors at the Crossroads gun shows at the Fairgrounds, where they engaged
   4   the public in discussions about the organization and its purposes, the shooting sports,
   5   firearms and firearm safety, and the Second Amendment and other political issues.
   6   CRPA and its members also attended gun shows at the Fairgrounds to sell
   7   organization memberships, advertise its events, distribute its publications, and sell
   8   its merchandise, some of which includes expressly pro-gun messaging. Members of
   9   CRPA would attend to advertise events, distribute publications, sell merchandise,
  10   ammunition, and firearms, some of which includes expressly pro-gun messaging.
  11   CRPA has also hosted political rallies, educational seminars, and range safety
  12   officer training at gun shows throughout the state, including those at the
  13   Fairgrounds. CRPA members and other gun enthusiasts attended these political
  14   rallies. CRPA has tens of thousands of members and supporters, many of whom
  15   attended the Crossroads gun shows at the Fairgrounds to engage in expressive
  16   activities with like-minded people, including discussions related to firearms,
  17   ammunition, and firearm accessories, the shooting sports, politics, and the Second
  18   Amendment. SB 264 and SB 915 directly burden the right of CRPA, its officers,
  19   employees, volunteers, members, and supporters, to engage in otherwise lawful
  20   commercial speech in a public forum and to access firearms, ammunition, and parts
  21   for lawful purposes. And because the ban on sales of firearms, ammunition, and
  22   parts is intended to make gun shows less profitable and effectively shutter them, it
  23   restricts the right of CRPA, its officers, employees, volunteers, members, and
  24   supporters, to engage in the unique types of political, educational, and commercial
  25   speech that takes place at the gun show. But for Defendants’ adoption and
  26   enforcement of SB 264 and SB 915, Plaintiff CRPA would continue attending and
  27   participating in the Crossroads gun show events at the Fairgrounds. Through this
  28   lawsuit, CRPA represents not only its own interests as a gun show vendor, but also
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   1    the interests of its members as gun show vendors and attendees and supporters of the
   2    right to keep and bear arms for lawful purposes.
   3          17.     Plaintiff SECOND AMENDMENT LAW CENTER, INC. (“2ALC”),
   4    is a nonprofit organization, incorporated under the laws of Nevada with headquarters
   5    in Henderson, Nevada, and registered with the California Secretary of State to do
   6    business in the state of California. 2ALC works to advance Second Amendment
   7    jurisprudence across the country while educating the public, participating in
   8    scholarly research, and providing thought-provoking writings and content to help
   9    advance the Second Amendment. 2LC works to support and protect Second
  10    Amendment rights across the country, and they distribute materials at gun shows in
  11    California to inform the public about their work. Because the ban on sales of
  12    firearms and ammunition at the Fairgrounds is intended to make gun shows less
  13    profitable and effectively shutter them, it restricts the rights of 2ALC to share
  14    education and training materials with gun owners and those that attend gun show
  15    events. In this lawsuit, 2ALC represents its interests as a gun show attendee and
  16    purveyor of educational materials.
  17          18.    Plaintiff SECOND AMENDMENT FOUNDATION, INC. (“SAF”) is a
  18    non-profit membership organization. It is incorporated under the laws of the state of
  19    Washington and was founded in 1974. SAF has over 700,000 members and
  20    supporters nationwide, including thousands of members in California. The purposes
  21    of SAF include education, research, publishing, and litigation. It is critical to the
  22    success of SAF that its promotional material, publications, and messages about the
  23    “right to keep and bear arms” reach demographic groups that are saturated with gun
  24    owners, gun buyers, and people of the “gun culture.” Gun Shows like the one
  25    threatened by the Defendants’ actions interfere with this effort. SAF is dedicated to
  26    promoting a better understanding about our constitutional heritage to privately own
  27    and possess firearms through educational and legal action programs designed to
  28    better inform the public about gun control issues. SAF has been a pioneer in
                                                  10
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   1    innovative defense of the right to keep and bear arms, through its publications and
   2    public education programs like the Gun Rights Policy Conference. Those
   3    publications and other SAF materials and information are offered at gun show
   4    events. Second Amendment Foundation also expends significant sums of money
   5    sponsoring public interest litigation to defend its own interests to disseminate
   6    information to like-minded individuals, in an individualized setting like a gun show,
   7    but SAF also seeks to defend the interests of its member in lawsuits like this present
   8    effort.
   9                                          [Defendants]
  10              19. Defendant GAVIN NEWSOM is the Governor of the State of
  11    California. As Governor, he is vested with “the supreme executive power” of the
  12    state and “shall see that the law is faithfully executed.” Cal. Const. art. 5, §1.
  13    Defendant Newsom is sued in his official capacity.
  14              20. Defendant ROB BONTA is the Attorney General of the State of
  15    California. He is the “chief law officer” of the state and has the duty to ‘see that the
  16    laws of the State are uniformly and adequately enforced.” Cal. Const. art. 5, § 1.
  17    Additionally, Defendant Bonta has “direct supervision over every district attorney”
  18    within the State. Id. If, at any point a district attorney of the State fails to enforce
  19    adequately “any law of the State,” Defendant Bonta must “prosecute any violations
  20    of the law.” Id. Finally, Defendant Bonta, as Attorney General of the State of
  21    California, “shall assist any district attorney in the discharge” of duties when
  22    “required by the public interest or directed by the Governor. . . .” Id. Defendant
  23    Bonta is sued in his official capacity.
  24              21. Defendant TODD SPITZER is the District Attorney responsible for
  25    enforcing the law within the county of Orange. Under the California Government
  26    Code, the district attorney must prosecute “all actions for the recovery” of fines and
  27    penalties. Cal. Gov’t Code § 26521. Defendant Spitzer is sued in his official
  28    capacity.
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   1           22. Defendant KAREN ROSS is the Secretary of the California Department
   2    of Food & Agriculture—the entity responsible for the policy oversight of the
   3    network of California fair venues, which includes the Orange County Fair & Event
   4    Center. Through the Department, Defendant Ross issues guidance for governance
   5    and contracting to all agricultural districts throughout California (including
   6    Defendant District) and requires reporting from the districts on operational issues.
   7    The Department maintains an office of legal counsel for any actions brought against
   8    Agricultural Association Districts in the state. Defendant Ross is sued in her official
   9    capacity.
  10           23. Defendant 32nd DISTRICT AGRICULTURAL ASSOCIATION
  11    (“District”) is a Governor-appointed Board of Directors that manages the state-
  12    owned Orange County Fair & Event Center public venue. The District is governed
  13    by a nine-member board, each member serving a four-year term. The District Board
  14    of Directors appoints a CEO charged with the daily operations of the facilities but
  15    maintains control over activities not delegated to the CEO, including contracting
  16    with those seeking to host events, including gun shows, at the Fairgrounds. It is
  17    responsible for ensuring that all state laws governing gun shows at the Fairgrounds,
  18    including SB 264 and SB 915, are faithfully enforced. Defendant District refused to
  19    consider contracts for the gun show by refusing to place the question of contract
  20    approval on monthly meeting agendas when considering other similar contracts.
  21           24. The true names and capacities of Defendants named as DOES 1
  22    through 10, inclusive, are individual, corporate, associate or otherwise, and are
  23    unknown to Plaintiffs. They are, however, believed to be responsible in some way
  24    for Plaintiffs’ loss and damages. Each Doe Defendant is, and at all times mentioned
  25    here was, a partner, agent, principal, co-conspirator, or are otherwise vicariously or
  26    directly responsible for the acts or omissions of the other defendants or themselves.
  27    They are each sued individually and are joined as party defendants. Plaintiffs thus
  28    sue each Doe Defendant under rules 15 and 21 of the Federal Rules of Civil
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   1    Procedure. Plaintiffs are informed and believed that the Doe Defendants are all
   2    California residents. Plaintiffs will amend this complaint to show such true names
   3    and capacities of Doe Defendants when they have been ascertained.
   4                                FACTUAL ALLEGATIONS
   5        [The First Amendment Rights to Free Speech, Association, & Assembly]
   6          25.    The First Amendment provides, in part, that “Congress shall make no
   7    law . . . abridging the freedom of speech,” U.S. Const. amend. I. It is incorporated
   8    and made applicable to the states by the Fourteenth Amendment to the United States
   9    Constitution and by 42 U.S.C. § 1983.
  10          26.    Political and ideological speech—including speech concerning
  11    “politics, nationalism, religion, or other matters of opinion”—has long been
  12    considered the core of the First Amendment. W. Va. State Bd. of Educ. v. Barnette,
  13    319 U.S. 624, 642 (1943).
  14          27.    Public property made available for lease by community groups to
  15    engage in expressive activity must thus be available without regard to the viewpoint
  16    sought to be expressed Cinevision Corp. v. City of Burbank, 745 F.2d 560 (9th Cir.
  17    1984). Such venues cannot be opened to some and closed to others, suppressing
  18    protected expression, absent a compelling government interest. Id. at 571.
  19          28.    The First Amendment does not tolerate the suppression of speech based
  20    on what some may label an unpopular viewpoint of the speaker. John J. Hurley and
  21    S. Boston Allied War Vets. Council v. Irish-Am. Gay, Lesbian & Bisexual Group of
  22    Boston, 515 U.S. 557 (1995). Indeed, “above all else, the First Amendment means
  23    that the government has no power to restrict expression because of its message, its
  24    ideas, its subject matter, or its content.” Mosley, 408 U.S. at 95 (emphasis added);
  25    see also Ashcroft, 535 U.S. at 573.
  26          29.    A content-based restriction that implicates political or ideological
  27    speech must generally survive “strict scrutiny,” where the government must show
  28    that the law is narrowly tailored to achieve a compelling government interest. See
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   1    Reed v. Town of Gilbert, 576 U.S. 155 (2015); see also Lorillard Tobacco Co. v.
   2    Reilly, 533 U.S. 525 (2001) (holding that tobacco marketing restrictions – even
   3    those purposed to protecting minors -- must be the narrowest means of achieving an
   4    asserted state interest); Brown v. Entm’t Merchs. Ass’n, 564 U.S. 786 (2011)
   5    (overturing California law banning sale or rental of “violent video games” to
   6    minors); see also Tracy Rifle & Pistol LLC v. Harris, 339 F. Supp. 3d 1007, 1018
   7    (E.D. Cal. 2018) (holding that a California law prohibiting the display of a handgun,
   8    an imitation handgun, or a placard advertising the sale of a handgun in a manner that
   9    is visible from the outside of a gun dealer’s premises is unconstitutional).
  10           30.   Even purely commercial speech—speech that “does no more than
  11    propose a commercial transaction” or relates solely to the economic interests of the
  12    speaker and audience—receives First Amendment protection if it is not misleading
  13    and concerns a lawful activity. Cent. Hudson Gas & Elec. Corp. v. Public Serv.
  14    Comm’n, 447 U.S. 557 (1980).
  15           31.   “An offer to sell firearms or ammunition” is constitutionally protected
  16    commercial speech. Nordyke v. Santa Clara, 110 F.3d 707, 710 (9th Cir. 2009).
  17           32.   Government restrictions on protected commercial speech are
  18    constitutional only if they directly advance a substantial government interest and are
  19    not broader than necessary to serve that interest. Cent. Hudson, 447 U.S. 557.3
  20           33.   The First Amendment protects not only the right of free speech, but
  21    also “the right of the people peaceably to assemble.” U.S. Const., amend. I. The
  22    right to assemble often merges with the right to free expression. For “[e]ffective
  23
  24       3
             Though this is currently the controlling test for so-called “commercial speech,”
        modern case law is trending toward extending full First Amendment protection to all
  25    speech, including “commercial speech.” See Sorrell v. IMS Health, Inc., 564 U.S.
        552 (moving toward providing commercial speech the same level of heightened
  26    protection long accorded to political speech); see also 44 Liquormart, Inc. v. Rhode
        Island, 517 U.S. 484, 523 (1996) (Thomas, J., concurring in part and concurring in
  27    judgment) (“I do not see a philosophical or historical basis for asserting that
        ‘commercial’ speech is of ‘lower value’ than ‘noncommercial’ speech. Indeed, some
  28    historical materials suggest to the contrary.”).
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   1    advocacy of both public and private points of view, particularly controversial ones,
   2    is undeniably enhanced by group association.” NAACP v. Patterson, 357 U.S. 449,
   3    462 (1958). “Governmental action which may have the effect of curtailing the
   4    freedom to associate is subject to the closest scrutiny.” Id. at 461-62.
   5       [The Second Amendment Right to Keep and Bear Arms Under the Law]
   6          34.    The Second Amendment to the United States Constitution declares that
   7    “the right of the people to keep and bear arms shall not be infringed.” U.S. Const.
   8    amend. II.
   9          35.    The Second Amendment protects a fundamental, individual right that
  10    applies against both the federal government and the states. District of Columbia v.
  11    Heller, 554 U.S. 570, 592 (2008); McDonald v. City of Chicago, 561 U.S. 742, 750
  12    (2010).
  13          36.    The Supreme Court recently confirmed that Second Amendment
  14    questions are to be analyzed in light of “text, history, tradition.” “Ehen the Second
  15    Amendment’s plain text covers an individual’s conduct, the Constitution
  16    presumptively protects that conduct. The government must then justify its regulation
  17    by demonstrating that it is consistent with the Nation’s historical tradition of firearm
  18    regulation.” N.Y. State Rifle & Pistol Ass’n v. Bruen, --U.S.--, 142 S. Ct. 2111, 2126
  19    (2022) (citing Heller, 554 U.S. at 634).
  20          37.    The Second Amendment protects the right to possess and use arms that
  21    are “typically possessed by law-abiding citizens for lawful purposes.” See, e.g.,
  22    Heller, 554 U.S. at 624-25; See also Caetano v. Massachusetts, 577 U.S. 411, 136 S.
  23    Ct. 1027, 1027-28 (2016). That protection “extends, prima facie, to all instruments
  24    that constitute bearable arms, even those that were not in existence at the time of the
  25    founding.” Heller, 544 U.S. at 582. It also includes the ammunition necessary to use
  26    firearms for their core lawful purposes. See Jackson v. City & Cnty. of San
  27    Francisco, 746 F.3d at 967-68 (recognizing that “without bullets, the right to bear
  28    arms would be meaningless.”).
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   1          38.    Finally, the Second Amendment protects the corresponding right to
   2    obtain protected firearms and ammunition. See id at 967 (“‘[T]he right to possess
   3    firearms for protection implies a corresponding right’ to obtain bullets necessary to
   4    use them.”); see also Ezell v. City of Chicago, 651 F.3d 684, 704 (7th Cir. 2011)
   5    (holding that the right to possess firearms implies a corresponding right to access
   6    firing ranges to train to be proficient with such firearms).
   7        [The Fourteenth Amendment Right to Equal Protection Under the Law]
   8          39.    The Fourteenth Amendment to the United States Constitution,
   9    enforceable under 42 U.S.C. § 1983, provides that no state shall deny to any person
  10    within its jurisdiction the equal protection of the laws.
  11          40.    Singling out speakers because of the content of their speech also
  12    violates their fundamental rights under the Equal Protection Clause. U.S. Const.
  13    amend. XIV.
  14          41.    If unequal treatment occurs in the context of exercising a fundamental
  15    right, or the government is motivated by animus toward a disfavored group, courts
  16    apply heighted scrutiny. See Loving v. Virginia, 388 U.S. 1, 11 (1967); see also
  17    Cleburne v. Cleburne Living Center, Inc., 473 U.S. 432 (1985); Romer v. Evans, 517
  18    U.S. 620 (1996). Indeed, “[b]ecause the right to engage in political expression is
  19    fundamental to our constitutional system, statutory classifications impinging upon
  20    that right must be narrowly tailored to serve a compelling governmental interest.”
  21    Austin v. Mich. Chamber of Commerce, 494 U.S. 652, 666 (1990), rev’d on other
  22    grounds, Citzs. United v. Fed. Elec. Comm’n, 558 U.S. 310, 130 S. Ct. 876 (2010).
  23                      [Regulation of Gun Show Events in California]
  24          42.    The state of California has the most rigorous regulatory regime for
  25    commerce in firearms and ammunition in the United States. That regulatory regime
  26    applies to the operation of gun show events throughout California. The laws related
  27    to the acquisition and sale of firearms are arguably stricter at gun shows than at
  28    brick-and-mortar stores or internet sales.
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   1          43.    Only state approved, licensed gun show producers may operate gun
   2    shows in California.
   3          44.    All gun show producers, including Plaintiff Crossroads, must have an
   4    individual (the “promoter”) who holds a valid Certificate of Eligibility issued by the
   5    California Department of Justice.
   6          45.    Gun show producers must also, among other things:
   7                 a.    Certify that they are familiar with all California laws regarding
   8                       gun shows, Cal. Penal Code § 27200;
   9                 b.    Possess a minimum of $1,000,000 liability insurance, id.;
  10                 c.    Provide an annual list of shows or events to be held to the
  11                       California Department of Justice, id.; and
  12                 d.    Notify the California Department of Justice no later than 30 days
  13                       prior to the gun show or event of any changes to the above, id.
  14                 e.    Make available to law enforcement a complete and accurate list
  15                       of all vendors that will participate in the show to sell, lease, or
  16                       transfer firearms. Cal. Penal Code § 27205.
  17          46.    Gun show producers must submit an annual event and security plan and
  18    schedule to the California Department of Justice and any local law enforcement
  19    agency. The plan must include:
  20                 a.    Type of show or event;
  21                 b.    Estimated number of vendors offering for sale or display
  22                       firearms;
  23                 c.    Estimated number of attendees;
  24                 d.    Number of entrances and exits at the event;
  25                 e.    Location, dates, and times of the event;
  26                 f.    Contact person and telephone number for both promoter and
  27                       facility;
  28                 g.    Number of sworn peace officers employed by the producer or
                                               17
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   1                         facility who will be present at the event;
   2                   h.    Number of non-sworn security personnel employed by the
   3                         producer or the facility who will be present at the event; and
   4                   i.    Promoters must inform all prospective vendors of all California
   5                         laws regarding gun shows.
   6    Cal. Penal Code §§ 27210, 27215.
   7          47.      Gun show producers must also provide a list of all prospective vendors
   8    and designated firearm transfer agents who are licensed firearm dealers to the
   9    California Department of Justice no later than seven days prior to the event for the
  10    purpose of determining whether the vendor possess a valid license and are thus
  11    eligible to participate in the event. Cal. Penal Code § 27220.
  12          48.      If a vendor is not approved by the California Department of Justice or
  13    fails to comply with all applicable California laws, they cannot participate. Cal.
  14    Penal Code § 27220.
  15          49.      If a gun show producers fails to inform all prospective vendors of
  16    California’s state laws or fails to submit a list of all prospective vendors to the
  17    California Department of Justice, the event cannot commence. Cal. Penal Code §
  18    27230.
  19          50.      Gun show producers must have written contracts with each vendor
  20    selling firearms at the event. Cal. Penal Code § 27235.
  21          51.      Gun show producers must post signs in a readily visible location at
  22    each public entrance to the event that includes all of the following notices:
  23                • “This gun show follows all federal, state, and local firearms and
  24                   weapons laws, without exception.”
  25                • “Any firearm carried onto the premises by any member of the public
  26                   will be checked, cleared of any ammunition, and secured in a manner
  27                   that prevents it from being operated, and an identification tag or sticker
  28                   will be attached to the firearm before the person is allowed admittance
                                                     18
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   1                    to the show.”
   2                 • “No member of the public under the age of 18 years shall be admitted
   3                    to the show unless accompanied by a parent, grandparent, or legal
   4                    guardian.”
   5                 • “All firearm transfers between private parties at the show shall be
   6                    conducted through a licensed dealer in accordance with applicable state
   7                    and federal laws.”
   8                 • “Persons possessing firearms in this facility must have in their
   9                    immediate possession government-issued photo identification and
  10                    display it upon the request to any security officer or any peace officer,
  11                    as defined in Section 830.”
  12    Cal. Penal Code § 27240(a).
  13           52.      Gun show producers must also post signs in a readily visible location at
  14    each entrance to the parking lot stating: “The transfer of firearms on the parking lot
  15    of this facility is a crime.” Cal. Penal Code § 27240(b).
  16           53.      A willful failure of a producer to comply with any of California’s
  17    applicable laws is a misdemeanor punishable with a fine of up to $2,000 dollars and
  18    would render the producer ineligible for a gun show producer license for up to one
  19    year, which could cost a producer hundreds of thousands of dollars in lost revenue
  20    for a willful infraction. Cal. Penal Code § 272459(c).
  21           54.      Except in very limited exceptions applicable only to law enforcement,
  22    actual firearm transfers are already prohibited from taking place at any gun show in
  23    California.4 The firearm sale can be started through an on-site licensed “transfer
  24
  25       4
             Cal. Penal Code § 27310 (requiring all firearm transfers at gun shows to comply
        with state and federal law); id. § 26805 (prohibiting the sale and transfer of a firearm
  26    by a licensed dealer at any location other than the dealer’s premises as listed on their
        license but allowing dealer to prepare documents at a gun show in preparation for
  27    completion of the sale at the dealer’s premises); id. § 27545 (requiring all firearm
        transactions to be processed through a licensed dealer when neither party is a
  28    licensed firearm dealer).
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   1    dealer,” but it cannot be completed on site. Instead, purchasers must pick up their
   2    purchase at a licensed firearm retailer at a different licensed location--but only after
   3    a 10-day waiting period and background check. There is no “Gun Show Loophole”
   4    at gun shows operated in accordance with California Law.
   5          55.    The Gun Show Act of 2000, California Penal Code sections 27200-
   6    27245, places even more restrictions on the operation of a gun show in California by
   7    requiring that:
   8                 a.     Vendors do not display, possess, or offer for sale any firearms,
   9                        knives, or weapons for which possession or sale is prohibited;
  10                 b.     Vendors acknowledge that they are responsible for knowing and
  11                        complying with all applicable federal, state, and local laws
  12                        dealing with the possession and transfer of firearms;
  13                 c.     Vendors will not engage in activities that incite or encourage hate
  14                        crimes;
  15                 d.     Vendors will process all transfers of firearms through licensed
  16                        firearms dealers as required by state law;
  17                 e.     Vendors will verify that all firearms in their possession will be
  18                        unloaded and that the firearms will be secured in a manner that
  19                        prevents them from being operated except for brief periods, when
  20                        the mechanical condition of the firearm is being demonstrated to
  21                        prospective buyer;
  22                 f.     Vendors provide all required information under Penal Code §
  23                        27320;
  24                 g.     Vendors will not display or possess black powder or offer it for
  25                        sale;
  26                 h.     Ammunition only be displayed in closed original factory boxes
  27                        or other closed containers, with the only exception for showing
  28                        the ammunition to a prospective buyer. On July 1, 2019,
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   1                        additional state-law restrictions on the sale of ammunition will
   2                        become effective and gun shows must comply;
   3                 i.     No member of the public under 18 years old may enter a gun
   4                        show unless accompanied by a parent or legal guardian;
   5                 j.     No person other than security personnel or law enforcement
   6                        possess both a firearm and ammunition for that firearm at the
   7                        same time, with the exception of vendors who are selling both.
   8          56.    Plaintiff Crossroads diligently operates all of its gun shows in
   9    accordance with state law, and it takes immediate remedial measures if irregularities
  10    are discovered.
  11          57.    Vendors at Crossroads gun shows are some of the same licensed
  12    vendors that have brick and mortar stores in the community or operate legally over
  13    the internet and are registered with the state as lawful businesses.
  14          58.    Vendors at Crossroads gun shows sell legal products and enjoy being
  15    able to attend gun shows so they can better interact with customers in a more
  16    meaningful and intimate way.
  17          59.    Even with all of the state and federal regulations that promoters and
  18    vendors must abide, through the adoption and enforcement of SB 264 and SB 915,
  19    Defendants now seek to wholly prohibit constitutionally protected, highly regulated,
  20    and otherwise perfectly legal activity.
  21                           [The Gun Show Cultural Experience]
  22          60.    Gun shows are a modern bazaar—a convention of like-minded
  23    individuals who meet in this unique public forum that has been set aside by state and
  24    local governments for all manner of commerce. This convention-like setting is of
  25    incalculable benefit to the gun-buying consumer and promotes public safety.
  26          61.    Gun shows, in general, and the Orange County show, in particular, are
  27    a celebration of America’s “gun culture” that is a natural and essential outgrowth of
  28    the constitutional rights that flow from the Second Amendment to the United States
                                                   21
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   1    Constitution.
   2          62. Gun shows, in general, and the Orange County show, in particular, are

   3    a First Amendment forum where literature and information are shared, speakers

   4    provide valuable lectures, classes are conducted, political forums are held where gun

   5    rights discussions take place, and candidates for political office can meet to discuss

   6    political issues, the government, and the constitution with constituents who are part

   7    of the California gun culture.

   8          63.    Thousands of people attend gun shows on the weekends they are held at
   9    the Fairgrounds. Many attend as new gun owners seeking information and
  10    instruction. With over 1 million new gun owners in California in the past year, gun
  11    shows offer the opportunity for these new gun owners to learn about firearms,
  12    safety, and speak to expert firearm enthusiasts.
  13          64.    Gun shows place a huge emphasis on safety as citizens come together.
  14    Gun shows are designed to offer a communal atmosphere of like-minded people that
  15    one does not find in a store where people are running in to pick up one or two items.
  16    Gun shows are designed so that people will congregate, take their time, engage each
  17    other and the vendors, and learn in a way that they do not otherwise engage.
  18          65.    Gun shows also happen to include the exchange of products and ideas,
  19    knowledge, services, education, entertainment, and recreation related to the lawful
  20    uses of firearms. Those lawful uses include (but are not limited to): firearm safety
  21    training; defense of self and others; defense community, state, and nation; hunting;
  22    target shooting; gunsmithing; admiration of guns as art; appreciation of guns as
  23    technological artifacts; and the study of guns as historical objects.
  24          66.    Gun shows, in general, and the Orange County show, in particular, are
  25    cultural marketplaces for those members of the “gun culture” who attend to
  26    celebrate their constitutional rights and to pass their beliefs in patriotism and the
  27    rights of the individual on to the next generation. It is a place where parents take
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   1    their children and grandparents take their grandchildren to share with them, among
   2    other things, a love of historic firearms, stories of American war heroes, and their
   3    love of hunting.
   4          67.    Gun shows, in general, and the Orange County show, in particular, are
   5    places where parents can learn to protect their families and their homes, and how to
   6    stay in compliance with California’s ever-changing gun laws.
   7          68.    Gun shows, in general, and the Orange County show, in particular, are
   8    places where people can discuss the positions of political candidates and whether
   9    those values line up with their own beliefs in protecting the Second Amendment.
  10          69.    Gun shows, in general, and the Orange County show, in particular, are
  11    held and promoted, and considerable investment is made, precisely to promote and
  12    “normalize” the “gun culture” and the constitutional principles that gun show
  13    participants hold dear.
  14          70.    This forum is vitally important especially in California where
  15    government actors at all levels of government (federal, state, and local) are openly
  16    hostile to the cultural values of the Second Amendment and where supporters of
  17    those cultural values are not considered “mainstream.”
  18          71.    Participating in “gun culture” is an important reason people attend
  19    Crossroads gun shows as vendors, exhibitors, customers, and guests (even if
  20    particular vendors or attendees are not in the firearm business or in the market to
  21    buy a gun at a particular event).
  22          72.    While less than 40% of vendors at Crossroads’ events offer firearms or
  23    ammunition for sale (the remaining vendors offer accessories, collectibles, home
  24    goods, lifestyle products, educational information, food, and other refreshments), the
  25    principle draw of gun shows is the availability of firearms, ammunition, and firearm
  26    parts and accessories for sale, as well as the ability to handle and inspect firearms
  27    while in the presence of knowledgeable vendors.
  28          73.    Indeed, many people attend gun shows to learn about the technology
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   1    and use of various firearms and ammunition when they are considering whether to
   2    buy or sell a firearm and to exchange knowledge with experienced dealers and
   3    firearm enthusiasts that they cannot get anywhere else. Teixeira v. County of
   4    Alameda, No. 13-17132 (9th Cir. 2017).5
   5           74.   Without the ability to buy and sell firearms and ammunition at gun
   6    shows at the Fairgrounds, the events will no longer be able to draw many of its
   7    vendors and attendees, making the events unprofitable and economically infeasible.
   8    When events are no longer profitable, producers and vendors cannot afford to attend
   9    and host the shows or maintain the speech components of gun show.
  10           75.   Defendants wish to end this celebration of “gun culture” and Second
  11    Amendment rights because they do not understand the culture or the people. To that
  12    end, Defendants have attempted, through SB 264 and SB 915’s bans on sales of
  13    firearms, ammunition, and “firearm precursor parts” at the Fairgrounds, to
  14    permanently deprive Plaintiffs of their right to engage in constitutionally protected
  15    conduct at the Fairgrounds.
  16                        [The Orange County Fair & Event Center]
  17           76.   The Fairgrounds is owned by the state of California and managed by
  18    the Board of Directors of Defendant District, which must regularly report its
  19    activities to the California Department of Food & Agriculture.
  20           77.   Among other things, Defendant District is charged with maintaining the
  21    Fairgrounds and ensuring that is used for public purposes.
  22           78.   Defendant Ross, as the Secretary of the California Department of Food
  23    & Agriculture, oversees the operation of the various agricultural districts in the state,
  24    including Defendant District.
  25           79.   The California Department of Food & Agriculture, under Secretary
  26
           5
             The Teixeira court did not answer whether the Second Amendment includes a
  27    right to purchase a firearm. Plaintiffs allege, in good faith, that the right to keep and
        bear arms necessarily includes the rights to purchase and sell them. Indeed, those
  28    rights are a necessary predicate to the exercise of the Second Amendment.
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   1    Ross, provides policies and guidance for the operation of all agricultural districts in
   2    the state, including the use of facilities as directed by Department policy.
   3          80.    The California Department of Food & Agriculture maintains a CDFA
   4    Contracts Manual for Agricultural Districts (“Manual”). Section 6.25 of the Manual
   5    states that “[w]hether or not a fair rents out their facilities for gun shows is a policy
   6    decision to be made by the fair board and their community.”
   7          81.    The Fairgrounds is a state-owned property maintained and opened for
   8    use by the public. By virtue of being opened by the state for use by the public, it is a
   9    “public forum,” from which the government may not generally exclude expressive
  10    activity. Cinevision, 745 F.2d at 569 (quoting Perry Educ. Ass’n v. Perry Local
  11    Educators’ Assn, 460 U.S. 37, 45-46 (1983)).
  12          82.    The Fairgrounds is used by many different groups and is a major event
  13    venue for large gatherings of people to engage in expressive activities, including
  14    concerts, festivals, and industry shows. Indeed, “OC Fair & Event Center is a 150-
  15    acre event venue that hosts over 150 events and attracts approximately 4.3 million
  16    visitors annually. [Its] versatile multi-use property can be transformed to fit a variety
  17    of events from small private events to large-scale trade shows and festivals.” OC
  18    Fair & Event Center, Event Space Sales, https://ocfair.com/venue-rentals/venue-
  19    options/rental-property-brochure/ (last visited Aug. 4, 2022) (attached as Exhibit 1).
  20          83.    The Fairgrounds actively promotes the use of the property by the public
  21    through contracting for available space at the Fairgrounds. Id.; see also OC Fair &
  22    Event Center, Venue Rentals, https://ocfair.com/venue-rentals/ (last visited Aug. 4,
  23    2022).
  24          84.    The Fairgrounds’ Board of Directors Governing Manual states that
  25    Defendant District’s purpose is “(1) to hold fairs, expositions and exhibitions in
  26    Orange County to exhibit the industries and industrial enterprises, resources, and
  27    products of every kind or nature of the state, with a view toward improving,
  28    exploiting, encouraging, and stimulating them; and (2) to construct, maintain, and
                                                  25
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   1    operate recreational and cultural facilities of general public interest in Orange
   2    County. The 32nd DAA has adopted a mission statement to effectuate these
   3    purposes, which is the celebration of Orange County’s communities, interests,
   4    agriculture and heritage.” 32nd District Agricultural District, Board of Directors
   5    Governing Manual, Introduction at 1, available at https://s3.us-west-
   6    1.amazonaws.com/ocfair.com/wp-content/uploads/2021/02/02141413/Policy-
   7    Combo-All.pdf (last visited Aug. 4, 2022).
   8          85.    The Fairgrounds has held non-gun-show events in which criminal
   9    activity has taken place. These criminal incidents are no more likely to happen at a
  10    gun show than at other types of events, but the Defendants have not banned these
  11    promoters or their events.
  12                         [Contracting for Use of the Fairgrounds]
  13          86.    Defendant District has a process, as do most of the state fairgrounds,
  14    for securing returning contractors who would like to secure specific dates into future
  15    years before the contracts can be drafted and executed.
  16          87.    Each year, returning and regular contractors, including Plaintiff
  17    Crossroads, submit preferred dates for the next calendar year, so Defendant District
  18    can confirm availability and so that Plaintiff Crossroads can begin to reserve
  19    vendors and materials for the show weekends.
  20          88.    Due to the size and extensive planning that goes into producing gun
  21    show events, Defendant District has—for decades—provided and held preferred
  22    dates for Plaintiff Crossroads, a long-time contractor, until the contracts can fully be
  23    executed.
  24          89.    Defendant District’s “hold” system essentially operates as a right of
  25    first refusal to the benefit of returning contractors. For example, if another contractor
  26    wanted the same preferred dates as Plaintiff Crossroads, Defendant District would
  27    not allow another vendor to come in and take those dates from Plaintiff Crossroads
  28    even though there is no official contract in place yet.
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   1          90.      The “hold” system also provides Defendant District with the security of
   2    knowing its venue is booked with experienced and knowledgeable repeat contractors
   3    that have a demonstrated record of running safe and profitable events at the
   4    Fairgrounds.
   5          91.      The “hold” system also permits the promoter to spend advertising
   6    dollars to promote its events, but when governments announce plans to ban gun
   7    shows at particular venues, vendors and patrons rationally make plans to attend gun
   8    show events at other venues or seek other states to conduct their commerce.
   9          92.      Defendant District also considers the “hold” dates and shows during
  10    budget discussions which are typically held in the year before the contracts are
  11    commenced.
  12          93.      Upon information and belief, Plaintiffs allege that the “hold” system is
  13    widely used by similar state fair board venues and is standard industry practice.
  14          94.      Plaintiff Crossroads, after doing business in this customary manner for
  15    more than 30 years, had no reason to doubt that Defendant District would continue
  16    to honor such relationship with Plaintiff Crossroads.
  17           [Ban on Gun Shows at Other Fairgrounds & Resulting Litigation]
  18          95.      Despite the long history that Plaintiff Crossroads has had in California,
  19    operating safe and legal events, the political environment has become hostile toward
  20    gun show events and (more generally) toward the “gun culture” in recent years.
  21          96.      Indeed, gun-show-banning activists are at work throughout the state
  22    and the country to ban all gun shows everywhere, not because they are “dangerous
  23    for the community,” but because they do not subscribe to the same values as gun
  24    show promoters, vendors, and participants.
  25          97.      With increasing regularity, the same activists are making appearances
  26    on Zoom board meetings held by fair boards across the state, and during each
  27    appearance, they make the same claims in order to shut down lawful gun shows.
  28          98.      These activists rely on unfounded fears about the security of gun show
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   1    events, false claims that gun shows are inherently dangerous because they normalize
   2    the “gun culture,” and peddle in false stereotypes about the people that attend gun
   3    shows. See City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432 (1985) (striking
   4    an ordinance requiring a special permit for a group home for the intellectually
   5    disabled and citing direct evidence of negative attitudes toward persons with
   6    disabilities expressed by community members and recorded in the legislative
   7    history).
   8          99.     In 2017, gun-show-banning activists using the same tactics described
   9    above began pressuring the 22nd District Agricultural Association (“22nd DAA”),
  10    which manages the Del Mar Fairgrounds in San Diego, to prohibit gun show events
  11    at the Del Mar Fairgrounds. In response, the 22nd DAA began a series of meetings
  12    and comment periods to determine whether it would continue to contract with
  13    Plaintiff Crossroads or other gun show producers for the use of the Del Mar
  14    Fairgrounds to host gun show events.
  15          100. The 22nd DAA also engaged in communications with other
  16    government agencies and with Crossroads to determine whether gun shows at the
  17    Fairgrounds were operated in full compliance with state and federal law, and if the
  18    events pose any real danger to the community.
  19          101. On April 23, 2018, Defendant Newsom sent a letter to the 22nd DAA,
  20    urging the Board to ban gun shows at the Fairgrounds, citing his concerns that
  21    “[p]ermitting the sale of firearms and ammunition on state-owned property only
  22    perpetuates America’s gun culture.” Letter from Governor Gavin Newsom to Board
  23    Members of 22nd District Agricultural Association (April 23, 2018) (attached as
  24    Exhibit 2).
  25          102. On September 10, 2018, Assemblymember Todd Gloria (D) sent a
  26    letter to the 22nd DAA, stating his “firm belief that the State of California should in
  27    no way help to facilitate the sale of firearms.” He also expressed his support for the
  28    22nd DAA “willingness to consider options for limiting or eliminating these gun
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   1    shows” and vowed to “act by way of legislation should the 22nd DAA Board be
   2    unable to take meaningful action.” Letter from Assemblymember Todd Gloria to
   3    Board Members of 22nd District Agricultural Association (Sept. 10, 2018) (attached
   4    as Exhibit 3).
   5          103. At a public hearing on September 11, 2018, a fair board ad hoc
   6    “Contracts Committee” recommended that the 22nd DAA “not consider any
   7    contracts with the producers of gun shows beyond December 31st, 2018, until such
   8    time as the [22nd DAA] has put into place a more thorough policy regarding the
   9    conduct of gun shows.”
  10          104. In testimony before the 22nd DAA at the September 11, 2018 hearing,
  11    Patrick Kerins, who was then the Public Safety Director for the 22nd DAA, reported
  12    on the laws that apply to gun shows in California, as well as Plaintiff Crossroads
  13    history of events at the Fairgrounds.
  14          105. During his comments at the September 11, 2018 hearing, Mr. Kerins
  15    referenced a memorandum that he prepared for the 22nd DAA’s Board of Directors
  16    in 2016. In that memorandum, he reported that:
  17                 As Chief of Security for the 22nd DAA, I routinely inspect the
                gun show and on a regular basis communicate with the San Diego
  18            Sheriff’s Department re: compliance with all the applicable laws and
                regulations and the Security Plan required by the California
  19            Department of Justice Firearms Division. I recently spoke to
                Detective Jaime Rodriguez of the Sheriff’s North Coastal Station
  20            who supervises the four Deputies assigned to the gun show security
                detail and Detective Stacey Smith who is assigned to the Sheriff’s
  21            Licensing Division. Both Detectives said the Crossroads of the West
                Gun Show is in complete compliance with all the local, State and
  22            Federal laws that govern gun shows and that there have not been any
                violations of law. Both Detectives had high praise for the show
  23            promoters and the 22 DAA staff.
  24    Memorandum of Patrick Kerins, Public Safety Director, 22nd District Agricultural
  25    Association, to Board of Directors, 22nd District Agricultural Association, at 17
  26    (2016) (attached as Exhibit 4).
  27    ///
  28    ///
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   1          106. Mr. Kerins’ 2016 memorandum continued:
   2            In my considered opinion, as Chief of Security for the 22 DAA for
                the last 17 years, the CROSSROADS OF THE WEST GUN
   3            SHOWS (5 per year) are in compliance with all the local, state and
                federal regulatory statutes and have operated without any violations
   4            of those laws Under the laws of the State of California you must
                comply with all the laws of purchasing, selling and/or transferring of
   5            firearms at a gun show as you would at licensed gun dealer’s store
                Due to the strict California gun show regulations there are no so
   6            called loop holes that you so often hear about in the media.
   7    Ex. 4 at 17.
   8          107. Ultimately, the lengthy process of meetings, public comment, and
   9    communications with stakeholders resulted in no finding that allowing the (already
  10    heavily regulated) gun show events to continue at the Del Mar Fairgrounds posed a
  11    definite or unique risk to public safety. Indeed, the 22nd DAA presented no
  12    evidence of any safety concerns within the community that could be linked to the
  13    over-30-year-old gun show at the Del Mar Fairgrounds.
  14          108. Nonetheless, relying on contrived possibilities of unknown dangers and
  15    unfounded claims that prohibiting gun shows might prevent suicide and violent
  16    crime because the “gun culture” would be censored, the 22nd DAA voted to impose
  17    a one-year moratorium on gun show events at the Del Mar Fairgrounds.
  18          109. Plaintiffs Crossroads, CRPA, SAF, and others sued the 22nd DAA,
  19    Defendant Ross, and others in federal court under to prevent enforcement of the
  20    moratorium, alleging violations of various constitutional rights, including the rights
  21    to free speech, assembly, and equal protection. See B&L Prods. v. 22nd Dist. Agric.
  22    Ass’n, 394 F. Supp. 3d 1226 (S.D. Cal. 2019) (“B&L I”) (attached as Exhibit 5).
  23          110. Denying the 22nd DAA’s motion to dismiss and granting plaintiffs a
  24    preliminary injunction—sua sponte—on the ground that plaintiffs were exceedingly
  25    likely to succeed on the merits of their constitutional claims, the court in B&L
  26    Productions temporarily enjoined the enforcement of the 22nd DAA’s gun show
  27    moratorium and ordered the 22nd DAA to contract with Crossroads as it would any
  28    other similar event promoter at the Fairgrounds. Id.
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   1          111. Shortly thereafter, the B&L Productions plaintiffs negotiated a
   2    settlement with the 22nd DAA, represented by attorneys for the California
   3    Department of Justice, permanently terminating the gun show moratorium,
   4    reinstating Crossroads’ right to promote gun show events at the Fairgrounds, and
   5    permanently barring the 22nd DAA from unilaterally halting B&L’s gun show
   6    events at the Del mar Fairgrounds.
   7                         [California’s Assembly Bill 893 (Gloria)]
   8          112. Making good on previous threats, and fully aware of the court’s
   9    decision in B&L I, Assemblymember Gloria introduced Assembly Bill 893 (“AB
  10    893”) on or about February 20, 2019. Assem. Bill 893, 2019-2020 Reg. Sess. (Cal.
  11    2019) (attached as Exhibit 6).
  12          113. AB 893, which added Section 4158 to the California Food &
  13    Agricultural Code, bars any “officer, employee, operator, lessee, or licensee of the
  14    [District]” from “contract[ing] for, authoriz[ing], or allow[ing] the sale of any
  15    firearm or ammunition on the property or in the buildings that comprise the Del Mar
  16    Fairgrounds.” Violation of the law is a misdemeanor. Id.
  17          114. AB 893 does not bar the possession of firearms or ammunition on the
  18    property or in the buildings that comprise the Del Mar Fairgrounds. Id.
  19          115. The text of AB 893 expressly identifies the ongoing presence at the Del
  20    Mar Fairgrounds of “marketplaces popularly known as ‘gun shows,’ at which
  21    firearms and ammunition and other items are sold to the public approximately five
  22    times a year.” Id.
  23          116. AB 893 also clearly recognizes that “[p]romoters maintain relationships
  24    with a core group of vendors, some selling guns and some selling other
  25    merchandise, who travel as the schedule dictates from city to city and state to state
  26    and in the West, for example, many of the same vendors can be seen at Crossroads
  27    of the West Gun Shows from San Francisco, California, to Tucson, Arizona.” Id.
  28          117. AB 893 failed to identify, however, any real public safety or security
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   1    concern specifically related to the existence of gun show events at the Fairgrounds.
   2          118. To be sure, AB 893 claims, without support, that “[g]un shows bring
   3    grave danger to a community” and that “dangerous incidents” have taken place at
   4    guns shows at the Fairgrounds, including “an official vendor accused of trafficking
   5    illegal firearms, sales of firearms to individuals registered in the Department of
   6    Justice Bureau of Firearms Armed Prohibited Persons System, and illegal
   7    importation of large-capacity magazines.” But AB 893 makes no effort to show that
   8    these incidents are any more likely to occur at gun shows in California, which are
   9    regulated at least as heavily as retailers operating out of brick-and-mortar stores.
  10          119. Instead, AB 893’s legislative history reveals only general concerns
  11    about gun violence occurring all over the country and legislators’ beliefs that the
  12    state should not profit from sales of firearms and ammunition. See Matthew
  13    Fleming, Assem. Comm. Pub. Safety, Bill Analysis Re: AB 893 (Gloria), 2019-2020
  14    Reg. Sess., at 3 (Cal. 2019) (attached as Exhibit 7).
  15          120. Indeed, AB 893 opens with a list of tragedies, including the horrific
  16    mass murders that took place at Columbine High School, Sandy Hook Elementary
  17    School, and Marjory Stoneman Douglas High School—none of which were carried
  18    out with firearms traced to gun show events at the Fairgrounds. Ex. 6.
  19          121. What’s more, a March 26, 2019, analysis of AB 893 presented to the
  20    Assembly Committee on Public Safety quoted claims by Assemblymember Gloria,
  21    the bill’s sponsor, that “[t]here is an ever-apparent link between the gun violence we
  22    see virtually every week and the number of guns in our communities.” These
  23    statements, however, made no attempt to link gun violence to gun shows, generally,
  24    or to gun shows at the Fairgrounds, specifically. Ex. 7 at 2.
  25          122. The Public Safety Committee’s March 26, 2019, analysis also quoted
  26    Gloria as lamenting that “the State of California should not be profiting or
  27    benefitting from the sale of firearms.” He continued, “[f]undamentally, I believe it is
  28    wrong for the state of California to profit or to benefit from the sale of firearms and
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   1    ammunition.” Ex. 7 at 2.
   2          123. The Public Safety Committee’s March 26, 2019, analysis also cited a
   3    decade-old report from the Violence Prevention Research Program (VPRP) at the
   4    UC Davis School of Medicine, identifying gun shows as a source of illegally
   5    trafficked firearms. Ex. 7 at 3.
   6          124. But neither the VPRP report nor AB 893’s legislative history links any
   7    illegally trafficked firearm or gun used in crime to gun shows at the Fairgrounds (or
   8    even to gun shows in California). See Garen Wintemute, MD, Inside Gun Shows:
   9    What Goes on When Everybody Thinks Nobody’s Watching, ch. 1 (2009) (attached
  10    as Exhibit 8). This is unsurprising because, as the study states, “[m]uch of the
  11    concern about gun shows as a source of crime guns focuses on private party gun
  12    sales, since no background checks are conducted and no records are kept.” Id. at 32.
  13    But such concerns are simply irrelevant in California where private party transfers—
  14    even those initiated at gun shows—must be processed by a licensed firearm dealer
  15    and are subject to background checks and registration under state law.
  16          125. The VPRP report cited by the Public Safety Committee’s analysis of
  17    AB 893 also attempts to implicate licensed firearm retailers operating at gun shows
  18    as sources of crime guns in America, claiming that “30% of dealers with gun show
  19    sales, but 22% of all dealers, had previously had a crime gun traced to them.” But it
  20    expressly recognizes that “in California, where both gun shows themselves and gun
  21    commerce generally are regulated, sales at gun shows are not a risk factor among
  22    licensed retailers for disproportionate sales of crime guns.” Ex. 8 at 33 (emphasis
  23    added).
  24          126. The Public Safety Committee’s March 26, 2019, analysis also cited a
  25    report from the Government Accountability Office, claiming that a GAO report
  26    “regarding gun trafficking to Mexico confirmed that many traffickers buy guns at
  27    gun shows.” Ex. 7 at 3. But again, neither the BATFE report nor AB 893’s
  28    legislative history links any illegally trafficked firearm to gun shows at the Del Mar
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   1    Fairgrounds (or even to gun shows in California). See U.S. Gov’t Accountability
   2    Off., GAO-16-223, Firearms Trafficking: U.S. Efforts to Combat Firearms
   3    Trafficking to Mexico Have Improved, but Some Collaboration Challenges Remain
   4    (2016) (attached as Exhibit 9). To be sure, the GAO report identifies U.S. Southwest
   5    border states, including Texas (41%), California (19%), and Arizona (15%), as the
   6    largest sources of firearms illegally trafficked into Mexico from the United States.
   7    Ex. 9 at 14. But it does not trace these illegally trafficked guns to licensed dealers,
   8    generally, or to those operating at gun shows, specifically. Rather, it says only that
   9    “there were about 10,134 licensed dealers and pawnbrokers in the four Southwest
  10    border states, many of them along the border,” and that “these licensed dealers and
  11    pawnbrokers can operate in locations such as gun shops, pawn shops, their own
  12    homes, or gun shows.” Id.
  13          127. The Public Safety Committee’s March 26, 2019, analysis did concede
  14    that “less than one percent of inmates incarcerated in state prisons for gun crimes
  15    acquired their firearms at a gun show”—though it transparently tries to diminish that
  16    fact by citing only a website of the National Rifle Association as the source of the
  17    statistic, instead of the U.S. Department of Justice, Bureau of Justice Statistics
  18    reports from which the NRA drew it. Ex. 7 at 2-3 (citing NRA-ILA, Background
  19    Checks|NICS, https://www.nraila.org/get-the-facts/background-checks-nics (last
  20    visited Sept. 29, 2021)); but see Caroline Wolf Harlow, Ph.D., Bureau of Justice
  21    Statistics, Firearm Use by Offenders (Nov. 2001) attached as Exhibit 10.
  22          128. While the Public Safety Committee’s March 26, 2019, analysis also
  23    concedes that “violent criminals do not appear to regularly purchase their guns
  24    directly from gun shows,” the analysis immediately shifts to “criticism” (from the
  25    partisan Center for American Progress) that gun shows are somehow “the critical
  26    moment in the chain of custody for many guns, the point at which they move from
  27    the somewhat-regulated legal market to the shadowy, no-questions-asked illegal
  28    market.” Ex. 7 at 3 (citing Arkadi Gerney, Center for American Progress, The Gun
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   1    Debate 1 Year After Newtown: Assessing Six Key Claims About Gun Background
   2    Checks (Dec. 2013), available at https://www.americanprogress.org/issues/guns-
   3    crime/reports/2013/12/13/80795/the-gun-debate-1-year-after-newtown/ (last visited
   4    Sept. 29. 2021). Neither the Center for American Progress editorial nor AB 893’s
   5    bill analysis show how, in California where sales at gun shows are regulated at least
   6    as heavily as sales at brick-and-mortar retailers, guns originating at gun shows are
   7    any more likely to enter the “shadowy, no-questions-asked illegal market” than
   8    those sold at gun stores.
   9                            [California’s Senate Bill 264 (Min)]
  10          129. Not to be outdone and following the encouragement from both
  11    Defendant Newsom and Assemblymember Gloria, Senator Dave Min sought early
  12    on to rid the state of gun shows on all state fairground properties. Indeed, Senator
  13    Min promised “in my first 100 days in office, I promise to author legislation for a
  14    ban on these gun shows at the OC Fair and Events Center once and for all.”
  15    Anthony Pignataro, SD-37 Candidate Min: Ban Gun Shows from OC Fair & Event
  16    Center, OC Weekly (Aug. 6, 2019), https://www.ocweekly.com/sd-37-candidate-
  17    min-ban-gun-shows-from-oc-fair-event-center/ (emphasis added). And he called on
  18    the “governing board of the OC Fair to end its contract with Crossroads of the West
  19    and other gun show marketers.” Id.
  20          130. In response, Board Member Ashleigh Aitken, advocating for the known
  21    safety of the Fairgrounds, noted that “[t]he gun show loophole does not exist in
  22    California. No citizen can purchase a firearm at the gun show and walk off property
  23    with it. The purchases are subject to the same background checks and waiting
  24    periods as any other store purchase.” Aitken went on to note that “California’s legal
  25    gun shows are not a priority as our state has the strictest gun laws in the country.”
  26    Anthony Pignataro, OC Fair Board Member Responds to Min’s Gun Show Ban Idea
  27    (Aug. 7, 2019), available at https://www.ocweekly.com/oc-fair-board-member-
  28    responds-to-mins-gun-show-ban-idea/.
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   1          131. Nevertheless, Senator Min introduced Senate Bill 264 (“SB 264”) on
   2    January 27, 2021. Sen. B. 264, 2019-2020Reg. Sess. (Cal. 2020) (attached as Exhibit
   3    11). SB 264, which added section 27575 to the California Penal Code, bars any
   4    “officer, employee, operator, lessee, or licensee of the [District]” from “contract[ing]
   5    for, authoriz[ing], or allow[ing] the sale of any firearm, firearm precursor part, or
   6    ammunition on the property or in the buildings that comprise the OC Fair and
   7    Events Center.” Violation of the law is a misdemeanor. Id.
   8          132. SB 264 does not bar the possession of firearms, ammunition, or firearm
   9    precursor parts on the property or in the buildings that comprise the Orange County
  10    Fairgrounds. Ex. 10. And it provides exceptions for (1) gun buyback events held by
  11    law enforcement, (2) the sale of a firearm by a public administrator, public
  12    conservator, or public guardian in the course of their duties, (3) the sale of a firearm,
  13    firearm precursor part, or ammunition on state property that occurs pursuant to a
  14    contract that was entered into before January 1, 2022, and (4) the purchase of
  15    ammunition on state property by a law enforcement agency in the course of its
  16    regular duties. Id.
  17          133. Like AB 893, SB 264 clearly recognizes that “[p]romoters maintain
  18    relationships with a core group of vendors, some selling guns and some selling other
  19    merchandise, who travel as the schedule dictates from city to city and state to state
  20    and in the West, for example, many of the same vendors can be seen at Crossroads
  21    of the West Gun Shows from San Francisco, California, to Tucson, Arizona.” Id.
  22          134. SB 264 failed to identify, however, any real public safety or security
  23    concern specifically related to the existence of gun show events at the Fairgrounds.
  24    Indeed, without citing specific safety concerns related to the Orange County
  25    Fairgrounds, the authors of SB 264 literally copied and pasted the same vague
  26    “security concerns” related to the Del Mar Fairgrounds from the language of AB
  27    893 to label the Orange County events a threat to the local community. Id.
  28          135. To be sure, SB 264 claims that “[g]un shows bring grave danger to a
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   1    community” and that “dangerous incidents” have taken place at guns shows at the
   2    Fairgrounds, including “an official vendor accused of trafficking illegal firearms,
   3    sales of firearms to individuals registered in the Department of Justice Bureau of
   4    Firearms Armed Prohibited Persons System, and illegal importation of large-
   5    capacity magazines.” Id. But SB 264 makes no effort to show that these incidents
   6    are any more likely to occur at the Orange County gun show or gun shows in
   7    California in general, which are regulated at least as heavily as retailers operating
   8    out of brick-and-mortar stores. What’s more, these incidents are identical to the
   9    crimes alleged to have taken place at the Del Mar Fairgrounds—an odd coincidence
  10    to be sure.
  11          136. Instead, SB 264’s legislative history reveals only general concerns
  12    about gun violence occurring all over the country, unrelated to California gun
  13    shows, and legislators’ beliefs that the state should not profit from sales of firearms
  14    and ammunition.
  15          137. Indeed, SB 264 opens with a list of tragedies, including the horrific
  16    mass murders that took place at Columbine High School, Sandy Hook Elementary
  17    School, and Marjory Stoneman Douglas High School—none of which were carried
  18    out with firearms traced to gun show events at the Fairgrounds. Id.
  19          138. The Senate Committee on Public Safety’s March 15, 2021, analysis
  20    cited a report from the Government Accountability Office, claiming that a GAO
  21    report “regarding gun trafficking to Mexico confirmed that many traffickers buy
  22    guns at gun shows.” Sen. Comm. Pub. Safety, Bill Analysis Re: SB 264 (Min),
  23    2019-2020 Reg. Sess., at 4 (Cal. 2021) (attached as Exhibit 12). But again, neither
  24    the BATFE report nor SB 264’s legislative history links any illegally trafficked
  25    firearm to gun shows at the Orange County Fairgrounds (or even to gun shows in
  26    California). See Ex. 9.
  27          139. In comments to the Senate Public Safety Committee on March 16,
  28    2021, Senator Min claimed that “SB 264 will ensure that the state is not profiting
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   1    from the sale of firearms and ammunition on state property or facilitating gun shows
   2    that would undermine California’s strong firearm regulations.” Sen. Pub. Safety
   3    Committee Hrg., Mar. 16, 2021, at 3:20:18, available at
   4    https://www.senate.ca.gov/media-archive/default?title=Public+Safety&startdate=
   5    03%2F16%2F2021&enddate=03%2F17%2F2021 (last accessed Aug. 4, 2022).
   6          140. In his remarks to the Senate Public Safety Committee, Senator Min
   7    claimed that the carnival-like atmosphere of gun shows lends itself to “lots of gun
   8    sales in the parking lot or by Venmo where the gun is delivered later.” No data was
   9    presented to support these claims even when asked by Senator Bogh. Senator Min
  10    ultimately conceded that he does not know how many firearms from gun shows
  11    actually move into the stream of illegal commerce. Id. at 4:05:36. He went on to
  12    state that even if there have zero unlawful acts at guns shows, “there is a principal
  13    that taxpayers should not be utilized, and taxpayer venues should not be utilized to
  14    promulgate the distribution of more guns in our communities.” Id. at 4:09:40.
  15          141. Senator Min’s closing remarks to the Senate Public Safety Committee
  16    recognized that SB 264 is “symbolic” and makes a statement that the state does not
  17    want to give an endorsement of “our taxpayer venues being used to sell more guns
  18    in our communities. Id. at 4:12:59.
  19          142. Similarly, in his remarks to the Assembly Committee on Public Safety
  20    on July 13, 2021, Senator Min said that ending gun shows and banning the sale of
  21    firearms, ammunition, and precursor parts at state-owned properties is a value
  22    statement that the state of California must make. See Assem. Pub. Safety Committee
  23    Hrg., Mar. 16, 2021, at 4:01:22, available at
  24    https://www.assembly.ca.gov/media/assembly-public-safety-committee-
  25    20210713/video (last accessed Aug. 4, 2022). “Value statements” are made about
  26    likes and dislikes, not about issues of public safety. Min’s candid remarks about the
  27    intention of SB 264 clearly illustrate a commitment to end gun shows not for safety
  28    reasons, but to restrict the lawful speech and activities of a culture that he does not
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   1    understand and does not support.
   2                             [California’s Senate Bill 915 (Min)]
   3          143. Having failed to made good on his campaign promise pass legislation in
   4    2021 that would ban gun shows from all state property, an undeterred Senator Min
   5    introduced Senate Bill 915 (“SB 915”) on February 2, 2022. Sen. B. 915, 2021-2022
   6    Reg. Sess. (Cal. 2022) (attached as Exhibit 15).
   7          144. SB 915, which added section 27573 to the California Penal Code, bars
   8    any “state officer or employee, or operator, lessee, or licensee of any state property”
   9    from “contract[ing] for, authoriz[ing], or allow[ing] the sale of any firearm, firearm
  10    precursor part, or ammunition on state property or in the buildings that sit on state
  11    property or property otherwise owned, leased, occupied, or operated by the state.”
  12    Id.
  13          145. Just like SB 264, Min’s SB 915 does not bar the possession of firearms,
  14    ammunition, or firearm precursor parts on state property or in the buildings that sit
  15    on that property. Id.
  16          146. And it provides exceptions for (1) gun buyback events held by law
  17    enforcement, (2) the sale of a firearm by a public administrator, public conservator,
  18    or public guardian in the course of their duties, (3) the sale of a firearm, firearm
  19    precursor part, or ammunition on state property that occurs pursuant to a contract
  20    that was entered into before January 1, 2023, (4) the purchase of ammunition on
  21    state property by a law enforcement agency in the course of its regular duties, and
  22    (5) sale or purchase of a firearm pursuant to subdivision (b) or (c) of Section 10334
  23    of the Public Contract Code. Id.
  24          147. SB 915 takes effect on January 1, 2023, but because the law prohibits
  25    officials have already stopped entering into contracts with gun show promoters, like
  26    Plaintiff Crossroads, for events in 2022 and beyond. And while there is an
  27    exemption allowing events to take place if contracts for those events were entered
  28    into before January 1, 2023, it has not been the practice of state venues to grant these
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                                 FIRST AMENDED COMPLAINT
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   1    contracts for gun show events in anticipation of the law’s effective date.
   2          148. The bill’s purpose was and it’s actual effect is to banish gun shows
   3    from state-owned properties—properties that are otherwise open to the public for
   4    gathering and expressive activities—throughout California. Indeed, Senator Min, the
   5    author of SB 915, has made very clear that banning the events was the bill’s intent:
   6    “Last year we laid the foundation for this moment with a ban on gun shows at the
   7    Orange County Fairgrounds. Today, I am proud to announce that California will
   8    become the first nation to enact a total ban statewide.” Press Release, California
   9    Becomes the First State to Ban Gun Shows on State Property, Builds on Orange
  10    County Fairgrounds Ban (July 21, 2022), available at
  11    https://sd37.senate.ca.gov/news/california-becomes-first-state-ban-gun-shows-state-
  12    property-builds-orange-county-fairgrounds (last accessed Nov. 7, 2022).
  13          149. Notably, SB 915 identifies no real public safety concern specifically
  14    related to the existence of gun show events at any of the state venues in California.
  15    To the contrary, when giving testimony about SB 915, Senator Min only noted
  16    issues with criminal activity from outside of California.
  17          150. Instead, SB 915’s legislative history reveals only general concerns
  18    about gun violence occurring all over the country, unrelated to California gun
  19    shows, and legislators’ beliefs that the state should not profit from sales of firearms
  20    and ammunition.
  21          151. In describing the need for the bill, the legislative history of SB 915 cites
  22    a 1999 BATFE report “gun shows as a ‘major trafficking channel’” and finding
  23    “that gun shows were the second largest source of illegally trafficked firearms.” See
  24    Sen. Comm. Pub. Safety, Bill Analysis Re: SB 915 (Min), 2021-2022 Reg. Sess., at
  25    3 (Cal. 2022) (attached as Exhibit 16). Setting aside the fact that the report is nearly
  26    a quarter-of-a-century old, the legislature made no effort to link such concerns to
  27    gun shows in California, where state law governs sales at gun shows at least as
  28    strictly as it governs sales at “brick-and-mortar” stores. Nor did it make any effort to
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                                    FIRST AMENDED COMPLAINT
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   1    show that gun shows remain “the second largest source of illegally trafficked
   2    firearms” 23 years after the BATFE report published its findings.
   3           [The Impact of SB 264 and SB 915 on the Orange County Gun Show]
   4           152. The sale of firearms and ammunition is an essential function of gun
   5    shows, and it is one of the main reasons people attend these events; if gun shows are
   6    not economically viable because they have been stripped of an essential function,
   7    they will cease to exist.
   8           153. SB 264 and SB 915 thus have the same practical effect as Del Mar’s
   9    unconstitutional gun show moratorium which was enjoined by federal court—that is,
  10    by permanently banning the commercial sale of firearms and ammunition at the
  11    Fairgrounds, it has the effect of banning gun shows at the Fairgrounds.
  12           154. The Legislature was well-aware when it passed SB 264 and SB 915 that
  13    a “gunless” gun show would not survive financially. Indeed, the intended purpose of
  14    SB 264 and SB 915 was to end gun shows at the Fairgrounds as noted by bill
  15    sponsor Senator Min in numerous committee testimonies and public comments.
  16    155. The July 12, 2021, Assembly Committee on Public Safety’s bill analysis
  17    references other similar legislative attempts to ban gun shows on state agricultural
  18    land. Assem. Comm. Pub. Safety, Bill Analysis Re: SB 264 (Min), 2021-2022 Reg.
  19    Sess., at 3 (Cal. 2021) (attached as Exhibit 13). The analysis notes that:
  20
                AB 893 (Gloria) Chapter 731, Statutes of 2019, added a section to
  21            the Food and Agricultural Code that prohibits the sale of firearms
                and ammunition at the Del Mar Fairgrounds, effectively terminating
  22            the possibility for future gun shows at the Del Mar Fairgrounds.
                AB 893 was signed into law by Governor Newsom. This bill would
  23            expand the provisions of AB 893 by including all state property
                within the prohibition on the sale or transfer of firearms and
  24            ammunition.6
  25           156. Senator Min knew that the intended and practical effect of SB 264 (and
  26
           6
             SB 264 was initially introduced as a bill to end sales of firearms, ammunition,
  27    and firearm precursor parts on all state-owned property. But Min failed to garner
        enough support for such a ban and agreed to limit the scope of SB 264 to the OC
  28    Fair & Event Center.
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                                  FIRST AMENDED COMPLAINT
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   1    later SB 915) was to end gun shows. His official Senate press release notes “[i]f
   2    signed into law, SB 264 would effectively put a stop to most gun shows on county
   3    fairgrounds. Press Release, Senator Dave Min’s Gun Violence Prevention Bill
   4    Advances from Assembly Public Safety Committee (July 13, 2021), available at
   5    https://sd37.senate.ca.gov/news/senator-dave-mins-gun-violence-prevention-bill-
   6    advances-assembly-public-safety-committee (last accessed Aug. 4, 2022).
   7          157. On July 21, 2022, Senator Min reiterated the intent of his gun show
   8    bills: “Last year we laid the foundation for this moment with a ban on gun shows at
   9    the Orange County Fairgrounds. Today I am proud to announce that California will
  10    become the first in the nation to enact a total ban statewide.” Press Release, Senator
  11    Dave Min’s California Becomes the First State To Ban Gun Shows on State
  12    Property, Builds on Orange County Fairgrounds Ban (July 21, 2022), available at
  13    https://sd37.senate.ca.gov/news/california-becomes-first-state-ban-gun-shows-state-
  14    property-builds-orange-county-fairgrounds (last accessed Nov. 7, 2022).
  15          158. And further evidencing the Legislature’s intended effect of SB 264 and
  16    SB 915, Senator Min wrote to Defendant District, warning members not to stand in
  17    the way of his bill that would ban sales of firearms, ammunition, and firearm
  18    precursor parts at the Fairgrounds. Letter from Senator Dave Min to Board Members
  19    of 32nd District Agricultural Association (on or about September 13, 2021)
  20    (attached as Exhibit 14).
  21          159. In his letter dated on or about September 13, 2021, letter, Min
  22    addressed the District’s concerns that its venue was being unfairly and exclusively
  23    targeted, responding that SB 264 was no different from earlier attempts to ban gun
  24    shows at a single fairground:
  25
               While Item 6A expresses a concern that SB 264 “exclusively targets
  26           the 32nd DAA,” such action to ban gun shows at a single fairground
               site has recent precedent. In 2019, Gov. Newsom signed Assembly
  27           Bill 893 (Gloria) into law, ending the sale of firearms and
               ammunition at the Del Mar Fairgrounds, operated by the 22nd
  28           District Agricultural Association.
                                               42
                                    FIRST AMENDED COMPLAINT
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   1    Id. (emphasis added).
   2          160. In that same letter, Senator Min also threatened the District’s board
   3    members with individual liability lawsuits should they move to approve contracts
   4    for the gun shows even before Governor Newsom had signed SB 264 into law. Id.
   5          161. Nonetheless, Plaintiff Crossroads has repeatedly reached out to
   6    Defendant District to request dates for events at the Fairground in 2021, 2022, and
   7    2023. But Defendant District refused to place the contracts for gun shows on the
   8    agenda for October, November, or December 2021, stating instead that they would
   9    revisit the issue again in January 2022 after SB 264 would go into effect.
  10          162. Defendant District’s refusal to enter into contracts with Plaintiff
  11    Crossroads before the implementation of AB 264 and SB 915 may have satisfied
  12    Senator Min’s threats towards individual board members, but in doing so, the
  13    District failed in their duty to bring profitable and family-friendly events to the
  14    Fairgrounds and caused great losses to Plaintiffs.
  15          163. Plaintiff Crossroads was unable to secure dates and enter into new
  16    contracts for events at the Fairgrounds in 2022 and beyond due to the Defendants’
  17    intentional act of adopting and enforcing SB 264 and refusing to consider their
  18    contracts in the same way they would any other member of the public seeking to
  19    rent the Fairgrounds venue, including looking forward to the implementation of SB
  20    915 in January of 2023. Plaintiffs are also unable to enter into new contracts for
  21    shows at other state venues before the implementation of SB 915 because those
  22    venues also refuse to provide dates before January 1, 2023.
  23          164. Indeed, in compliance with SB 264 and SB 915, Defendant District
  24    cannot and will not enter into contracts for gun shows at the Fairgrounds if firearms,
  25    ammunition, or firearm precursor parts will be sold during the shows.
  26          165. Even though Plaintiff Crossroads has offered to attempt to hold events
  27    without sales of firearms, ammunition, or firearm precursor parts to preserve its
  28    longstanding relationship with the District, mitigate damages, and continue planning
                                                  43
                                 FIRST AMENDED COMPLAINT
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   1    and promoting its family-friendly events until its claims can be heard, Defendant
   2    District dragged its feet and refused to provide dates for events for 2022 and beyond.
   3          166. Because of the time and resources needed to plan and implement its
   4    gun show events, Plaintiff Crossroads must plan its shows about one year in
   5    advance, but Defendant District has not allowed Plaintiff Crossroads to secure dates
   6    in 2023 either.
   7          167. What’s more, Defendant District seems to have stripped Plaintiff
   8    Crossroads of its effective right of first refusal under the District’s “hold” system
   9    described above. Indeed, it failed to give Crossroads first (or any) choice of its dates
  10    in 2021 or 2022.
  11          168. Defendants’ adoption and enforcement of SB 264 and SB 915, which
  12    has the intended and practical effect of banning gun shows at the Fairgrounds, has
  13    and will continue to cause Plaintiff Crossroads significant economic damages,
  14    including loss of event revenue, breakdown of relationships and agreements with
  15    long-time event vendors and companies used as suppliers for gun show events,
  16    relinquishment of future show dates, and loss of business reputation and goodwill
  17    that has been built by Plaintiff Crossroads for more than 30 years.
  18    169. Plaintiff Crossroads has already lost revenue for gun show events at the
  19    Fairgrounds in December 2021 and 2022 because Defendant District will not
  20    finalize event dates, citing SB 264 as the reason along with the threats from Senator
  21    Min for personal liability should they act. If shows do not return to the Fairgrounds
  22    in 2022, Plaintiff Crossroads will lose all revenue for gun show events at the
  23    Fairgrounds in 2022 and possibly 2023 because of the amount of time it takes to
  24    plan large-scale events like the gun shows.
  25          170. Even if Plaintiff Crossroads could secure dates, plan, promote, and host
  26    gun shows in 2022, SB 264 and SB 915 stand in the way of Crossroads generating
  27    the profits the events typically generate because the ban on firearm and ammunition
  28    sales will significantly impact paid event attendance and the types and numbers of
                                                   44
                                   FIRST AMENDED COMPLAINT
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   1    paid vendors who will do business with Crossroads at the Orange County gun show.
   2          171. Plaintiff Crossroads has and will continue to suffer loss of business
   3    goodwill resulting from Defendants’ adoption and enforcement of SB 264 and SB
   4    915 under the (unsupported) pretense that gun shows, generally, and Crossroads’
   5    shows, in particular, threaten public safety. The message this sends to other venues,
   6    attendees, and vendors that do business with Crossroads will no doubt affect
   7    Crossroads for years.
   8          172. Defendants’ adoption and enforcement of SB 264 and SB 915, which
   9    has the intended and practical effect of banning gun shows at the Fairgrounds,
  10    prohibits Plaintiffs and all those similarly situated from making use of a state-owned
  11    “public assembly facility” to host gun show events, a lawful business activity, in
  12    violation of Plaintiffs’ rights to engage in free speech and peaceful assembly, and
  13    their right to equal protection under the law.
  14          173. Specifically, Defendants’ conduct complained of here strips Plaintiffs
  15    Clark, Johnson, Littrell, and Merson, as well as the organizational plaintiffs, CRPA,
  16    APAGOA, 2ALC, and SAF, of a vital opportunity to assemble and engage in pure
  17    speech about, among other things, the rights and responsibilities of gun owners, the
  18    Second Amendment, patriotism, and political activism with like-minded individuals.
  19          174. Defendants’ conduct complained of here also strips Plaintiff Crossroads
  20    of the right to promote gun show events, acting as a “clearinghouse” for both
  21    political speech and commercial speech.
  22          175. Defendants’ conduct complained of here also strips Plaintiffs Littrell,
  23    and Merson, of a vital opportunity to assemble and engage in lawful commercial
  24    speech, including the offer and acceptance of sales of firearms, ammunition, and
  25    related accessories.
  26          176. Furthermore, even if the Court grants injunctive relief, Plaintiff
  27    Crossroads will have incurred damages in having to devote extraordinary advertising
  28    dollars to inform the public that gun shows will continue to be held and have not
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                                  FIRST AMENDED COMPLAINT
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   1    been banned at the Fairgrounds.
   2          177. The economic and non-economic harms and injuries to Plaintiffs are of
   3    a continuing nature; they continue to compound everyday SB 264 and SB 915
   4    remain the law.
   5                                FIRST CAUSE OF ACTION
                 Violation of Right to Free Speech Under U.S. Const., amend. I
   6                                      42 U.S.C. § 1983
           (By Plaintiffs Clark, Johnson, Littrell, Merson, CRPA, APAGOA, 2ALC, SAF
   7                                   Against All Defendants)
   8          178. Plaintiffs incorporate by reference paragraphs 1 through 177 of this
   9    Complaint as though fully set forth herein in their entirety.
  10          179. The state of California owns the Fairgrounds, a public venue. It is
  11    rented to the public, including community-based organizations and businesses, for
  12    its use and enjoyment, including for concerts, festivals, and industry shows.
  13          180. Plaintiffs Clark, Johnson, Littrell, Merson, CRPA, APAGOA, 2ALC,
  14    and SAF have attended in the past and wish to again attend Crossroads gun shows at
  15    the Fairgrounds so they may exchange ideas, information, and knowledge, as well
  16    discuss political issues and the importance of protecting and defending the Second
  17    Amendment.
  18          181. Plaintiffs Clark, Johnson, Littrell, Merson, CRPA, APAGOA, 2ALC,
  19    and SAF have a right under the First Amendment to use the Fairgrounds for their
  20    expressive activity on the same basis as other members of the public without regard
  21    to the viewpoints they seek to express.
  22          182. Defendants Newsom, Bonta, and Spitzer, acting under color of state
  23    law, are the state and local actors responsible for enforcing SB 264 and SB 915,
  24    which deprive Plaintiffs of free speech rights secured by the First Amendment of the
  25    United States Constitution in violation of 42 U.S.C. § 1983.
  26          183. Defendants Ross and District interpret, implement, and enforce state
  27    laws and policies in regard to the Fairgrounds, including SB 264 and SB 915, which
  28    deprive Plaintiffs of free speech rights secured by the First Amendment of the
                                                    46
                                   FIRST AMENDED COMPLAINT
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   1    United States Constitution in violation of 42 U.S.C. § 1983.
   2          184. Defendants’ enforcement of SB 264 and SB 915, which prohibit the
   3    sale of firearms, ammunition, and firearm precursor parts at the Fairgrounds with the
   4    purpose and intention (or at least the effect) of banning gun show events at the
   5    Fairgrounds, is an impermissible content-based restriction of speech. Such
   6    enforcement constitutes a direct violation of the free speech rights of Plaintiffs
   7    Clark, Johnson, Littrell, Merson, CRPA, APAGOA, 2ALC, and SAF.
   8          185. Defendants have no compelling (or even legitimate) governmental
   9    interest in banning the otherwise lawful (and constitutionally protected) sale of
  10    lawful firearms, ammunition, and firearm precursor parts at the Fairgrounds and all
  11    other state-owned properties, or in banning gun show events and the unique
  12    expression and exchange of ideas related to promoting and preserving the “gun
  13    culture” that takes place at those events. Any purported interest in “public safety” is
  14    betrayed by the fact that SB 264 and SB 915 do not ban the possession of firearms,
  15    ammunition, or firearms precursor parts on Fairgrounds property and state law
  16    already governs sales at gun shows at least as strictly as it governs sales at “brick-
  17    and-mortar” stores.
  18          186. Further, SB 264 and SB 915 are neither narrowly tailored to nor the
  19    least restrictive means of achieving the state’s dubious interests. Indeed, by
  20    intentionally and effectively banning gun shows at the Fairgrounds and all other
  21    state-owned properties, it sweeps up all forms of speech and expressive conduct that
  22    occurs at such events and banishes from a public venue.
  23          187. Similarly, SB 264 and SB 915 are unconstitutionally overbroad
  24    because, in an effort to restrict the commercial sale of firearms, ammunition, and
  25    firearm precursor parts, the law effectively and intentionally bans gun shows events
  26    altogether, seriously and deliberately burdening a vast amount of speech that does
  27    not constitute such a communication and is fully protected by the First Amendment.
  28          188.    As a direct and proximate result of Defendants’ conduct, Plaintiffs
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                                  FIRST AMENDED COMPLAINT
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   1    Clark, Johnson, Littrell, Merson, CRPA, APAGOA, 2ALC, and SAF have suffered
   2    irreparable harm, including the violation of their constitutional right to free speech,
   3    entitling them to declaratory and injunctive relief. Absent intervention by this Court,
   4    through declaratory and injunctive relief, Plaintiffs will continue to suffer this
   5    irreparable harm.
   6                             SECOND CAUSE OF ACTION
                  Violation of Right to Free Speech Under U.S. Const., amend. I
   7                              Mixed Political - Commercial
                                          42 U.S.C. § 1983
   8                         (By Plaintiff Crossroads Against All Defendants)
   9          189. Plaintiffs incorporate by reference paragraphs 1 through 188 of this
  10    Complaint as though fully set forth herein in their entirety.
  11          190. The state of California owns the Fairgrounds, a public venue. It is
  12    rented to the public, including community-based organizations and businesses, for
  13    its use and enjoyment, including for concerts, festivals, and industry shows. Due to
  14    the passage of SB 264 and SB 915, state venues like the Fairgrounds are not entering
  15    into new contracts for gun shows that have been held at these venues for decades.
  16          191. Plaintiff Crossroads seeks to engage in protected speech at the
  17    Fairgrounds, a noted “public assembly facility,” through the promotion and
  18    production of events for lawful expressive activity, including events that bring
  19    together like-minded individuals to engage in pure political and educational speech,
  20    as well as commercial speech of vendor and individual participants to communicate
  21    offer and acceptance for the sale of legal goods and services.
  22          192. Event promoters, though they generally promote events for profit, “still
  23    enjoy the protections of the First Amendment.” Id. at 567. For “[t]he role of a
  24    promoter in ensuring access to the public is at least as critical as the role of a
  25    bookseller or theater owner and . . . is in a far better position than a concert goer or
  26    individual performers to vindicate First Amendment rights and ensure public
  27    access.” Id. at 568. The conduct they engage in is protected expression.
  28
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                                   FIRST AMENDED COMPLAINT
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   1          193. Plaintiff Crossroads has a right under the First Amendment to use the
   2    Fairgrounds for its expressive activity on the same basis as other members of the
   3    public without regard to the content or viewpoint it seeks to express and promote.
   4          194. Defendants Newsom, Bonta, and Spitzer, acting under color of state
   5    law, are the state and local actors responsible for enforcing SB 264 and SB 915,
   6    which deprive Plaintiffs of free speech rights secured by the First Amendment of the
   7    United States Constitution in violation of 42 U.S.C. § 1983.
   8          195. Defendants Ross and District interpret, implement, and enforce state
   9    laws and policies in regard to the Fairgrounds, including SB 264 and SB 915, which
  10    deprive Plaintiffs of free speech rights secured by the First Amendment of the
  11    United States Constitution in violation of 42 U.S.C. § 1983.
  12          196. Defendants’ enforcement of SB 264 and SB 915, which prohibit the
  13    sale of firearms, ammunition, and precursor parts at the Fairgrounds with the
  14    purpose and intention (or at least the effect) of banning gun show events at the
  15    Fairgrounds, is an impermissible content-based restriction of speech. Such
  16    enforcement constitutes a direct violation of the free speech rights of Plaintiff
  17    Crossroads.
  18          197. Defendants have no compelling (or even legitimate) governmental
  19    interest in banning the otherwise lawful (and constitutionally protected) sale of
  20    lawful firearms, ammunition, and firearm precursor parts at the Fairgrounds and all
  21    other state-owned properties, or in banning gun show events and the unique
  22    expression and exchange of ideas related to promoting and preserving the “gun
  23    culture” that takes place at those events. Any purported interest in “public safety” is
  24    betrayed by the fact that SB 264 and SB 915 do not ban the possession of firearms,
  25    ammunition, or firearms precursor parts on Fairgrounds property and state law
  26    already governs sales at gun shows at least as strictly as it governs sales at “brick-
  27    and-mortar” stores.
  28          198. Further, SB 264 and SB 915 are neither narrowly tailored to nor the
                                              49
                               FIRST AMENDED COMPLAINT
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   1    least restrictive means of achieving the state’s dubious interests. Indeed, by
   2    intentionally and effectively banning gun shows at the Fairgrounds and all other
   3    state-owned properties, it sweeps up all forms of speech and expressive conduct that
   4    occurs at such events and banishes from a public venue.
   5          199. Similarly, SB 264 and SB 915 are unconstitutionally overbroad
   6    because, in an effort to restrict the commercial sale of firearms, ammunition, and
   7    firearm precursor parts, the law effectively and intentionally bans gun shows events
   8    altogether, seriously and deliberately burdening a vast amount of speech that does
   9    not constitute such a communication and is fully protected by the First Amendment.
  10          200.    As a direct and proximate result of Defendants’ conduct, Plaintiff
  11    Crossroads has suffered irreparable harm, including the violation of its constitutional
  12    right to free speech, entitling Crossroads to declaratory and injunctive relief. Absent
  13    intervention by this Court, through declaratory and injunctive relief, Plaintiffs will
  14    continue to suffer this irreparable harm.
  15
  16                              THIRD CAUSE OF ACTION
             Violation of Right to Commercial Speech Under U.S. Const., amend. I
  17                                  42 U.S.C. § 1983
  18             (By Plaintiffs Littrell, Merson, and CRPA Against All Defendants)
  19          201. Plaintiffs incorporate by reference paragraphs 1 through 200 of this
  20    Complaint as though fully set forth herein in their entirety.
  21          202. The state of California owns the Fairgrounds, a public venue. It is
  22    rented to the public, including community-based organizations and businesses, for
  23    its use and enjoyment, including for concerts, festivals, and industry shows.
  24          203. Plaintiffs Littrell, Merson, and CRPA have attended in the past, or
  25    represent members who have attended in the past, and wish to again attend
  26    Crossroads gun shows at the Fairgrounds to engage in lawful commercial speech
  27    with individual attendees.
  28          204. Plaintiffs Littrell, Merson, and CRPA members have a right under the
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                                 FIRST AMENDED COMPLAINT
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   1    First Amendment to use the Fairgrounds for expressive activity on the same basis as
   2    other members of the public without regard to the viewpoints they seek to express
   3    and promote.
   4          205. Defendants Newsom, Bonta, and Spitzer, acting under color of state
   5    law, are the state and local actors responsible for enforcing SB 264 and SB 915,
   6    which deprive Plaintiffs of free speech rights secured by the First Amendment of the
   7    United States Constitution in violation of 42 U.S.C. § 1983.
   8          206. Defendants Ross and District interpret, implement, and enforce state
   9    laws and policies in regard to the Fairgrounds, including SB 264 and SB 915, which
  10    deprive Plaintiffs of free speech rights secured by the First Amendment of the
  11    United States Constitution in violation of 42 U.S.C. § 1983.
  12          207. Defendants’ enforcement of SB 264 and SB 915, which prohibits the
  13    sale of firearms, ammunition, and precursor parts at the Fairgrounds with the
  14    purpose and intention (or at least the effect) of banning gun show events at the
  15    Fairgrounds, is an impermissible content-based restriction of speech. Such
  16    enforcement constitutes a direct violation of the First Amendment commercial
  17    speech rights of the Plaintiffs.
  18          208. Further, by directly barring the rights of vendors, like Plaintiffs Littrell,
  19    Merson, and CRPA members, to sell firearms and ammunition (which necessarily
  20    involves commercial speech), SB 264 and SB 915 defies existing case law in the
  21    Ninth Circuit protecting the commercial speech associated with firearm sales on
  22    public property. See Nordyke v. Santa Clara Cty., 110 F. 3d 707 (9th Cir. 1997).
  23          209. Defendants have no substantial (or even legitimate) governmental
  24    interest in banning the otherwise lawful (and constitutionally protected) sale of
  25    lawful firearms, ammunition, and firearm precursor parts at the Fairgrounds and all
  26    other state-owned properties, or in banning gun show events and the unique
  27    expression and exchange of ideas related to promoting and preserving the “gun
  28    culture” that takes place at those events. Any purported interest in “public safety” is
                                                    51
                                   FIRST AMENDED COMPLAINT
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   1    betrayed by the fact that SB 264 and SB 915 do not ban the possession of firearms,
   2    ammunition, or firearms precursor parts on Fairgrounds property and state law
   3    already governs sales at gun shows at least as strictly as it governs sales at “brick-
   4    and-mortar” stores.
   5          210. Even if there were a substantial governmental interest in restricting gun
   6    shows and the commercial speech that occurs at such events, it would not be directly
   7    served by a ban on sales of firearms, ammunition, and firearm precursor parts at the
   8    Fairgrounds and all other state-owned properties.
   9          211. Even if there were a substantial governmental interest in restricting gun
  10    shows and the commercial speech that occurs at such events, flatly banning
  11    commercial speech about firearms and ammunition at the Fairgrounds and other
  12    state-owned properties otherwise open to the public is more extensive than
  13    necessary to serve any such interest. See Nordyke, 110 F.3d 707 (holding that a ban
  14    on the sale of firearms on county-owned land was overbroad as abridging
  15    commercial speech associated with the sale of lawful products).
  16          212. As a direct and proximate result of Defendants’ conduct, Plaintiffs
  17    Littrell, Merson, and CRPA have suffered irreparable harm, including the violation
  18    of their constitutional right to free speech, entitling them to declaratory and
  19    injunctive relief. Absent intervention by this Court, through declaratory and
  20    injunctive relief, Plaintiffs will continue to suffer this irreparable harm.
  21
                                FOURTH CAUSE OF ACTION
  22          Prior Restraint on Right to Free Speech Under U.S. Const., amend. I
                                        42 U.S.C. § 1983
  23                        (By All Plaintiffs Against All Defendants)
  24          213. Plaintiffs incorporate by reference paragraphs 1 through 212 of this
  25    Complaint as though fully set forth herein in their entirety.
  26          214. The First Amendment affords special protection against policies or
  27    orders that impose a previous or prior restraint on speech. “[P]rior restraints on
  28    speech and publication are the most serious and least tolerable infringement on First
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   1    Amendment Rights.” Ass’n for L.A. Deputy Sheriffs, 239 Cal. App. 4th at 811 (citing
   2    Neb. Press Ass’n, 427 U.S. at 559. A prior restraint is particularly egregious when it
   3    falls upon the communication of news, commentary, current events, political speech,
   4    and association. N.Y. Times Co., 403 U.S. at 715.
   5          215. Prior restraint also involves the “unbridled discretion doctrine” where a
   6    policy, or lack thereof, allows for a single person or body to act at their sole
   7    discretion, without regard for any constitutional rights possessed by the person upon
   8    which the action is taken, and where there is no remedy for challenging the
   9    discretion of the decision makers. Lakewood, 486 U.S. at 757.
  10          216. The Defendants are the state and local actors responsible for enforcing
  11    SB 264 and SB 915, which are content-based restrictions of speech that will have a
  12    chilling effect on Plaintiffs’ First Amendment rights, thus acting de facto prior
  13    restraints on Plaintiffs’ rights (including a refusal to place contract approval on
  14    board agendas or to offer available dates to begin the process of renting the venue).
  15          217. Under SB 264 and SB 915, Defendant District has unfettered discretion
  16    to determine what constitutes a “sale” under the law and is thereby prohibited at the
  17    Fairgrounds.
  18          218. Defendants’ policies and practices complained of here impose an
  19    unconstitutional prior restraint because they vest the District with unbridled
  20    discretion to permit or refuse protected expression by members of the public,
  21    including Plaintiffs.
  22          219. Defendants’ policies and practices complained of here give unbridled
  23    discretion to local agricultural district boards and board members to decide what
  24    forms of expression members of the public may engage in on at the Fairgrounds and
  25    to ban any other expression at the whim of those boards and board members in
  26    violation of the First Amendment.
  27          220. As a direct and proximate result of Defendants’ conduct, Plaintiffs have
  28    suffered and will continue to suffer irreparable harm, including the violation of their
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   1    constitutional right to freedom of expression, entitling them to declaratory and
   2    injunctive relief and nominal damages.
   3
                                 FIFTH CAUSE OF ACTION
   4      Violation of Right to Assembly and Association Under U.S. Const., amend. I
                                        42 U.S.C. § 1983
   5                        (By All Plaintiffs Against All Defendants)
   6          221. Plaintiffs incorporate by reference paragraphs 1 through 220 of this
   7    Complaint as though fully set forth herein in their entirety.
   8          222. The state of California owns the Fairgrounds, a public venue. It is
   9    rented to the public, including community-based organizations and businesses, for
  10    its use and enjoyment, including for concerts, festivals, and industry shows.
  11          223. Plaintiffs have promoted and/or attended in the past and wish to again
  12    promote and/or attend Crossroads gun shows at the Fairgrounds so they may
  13    assemble and associate with one another to engage in lawful commerce, fellowship,
  14    and expressive activities, including political and educational speech regarding the
  15    lawful ownership, possession, and use of firearms and related products.
  16          224. Plaintiffs have a right under the First Amendment to use the
  17    Fairgrounds to assemble and associate on the same basis as other members of the
  18    public without regard to the content or viewpoint it seeks to express and promote.
  19          225. Defendants Newsom, Bonta, and Spitzer, acting under color of state
  20    law, are the state and local actors responsible for enforcing SB 264 and SB 915,
  21    which deprive Plaintiffs of free speech rights secured by the First Amendment of the
  22    United States Constitution in violation of 42 U.S.C. § 1983.
  23          226. Defendants Ross and District interpret, implement, and enforce state
  24    laws and policies in regard to the Fairgrounds, including SB 264 and SB 915, which
  25    deprive Plaintiffs of free speech rights secured by the First Amendment of the
  26    United States Constitution in violation of 42 U.S.C. § 1983.
  27          227. Defendants’ enforcement of SB 264 and SB 915, which prohibit the
  28    sale of firearms, ammunition, and precursor parts at the Fairgrounds with the
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   1    purpose and intention (or at least the effect) of banning gun show events at the
   2    Fairgrounds, violates Plaintiffs’ rights to assembly and association by denying them
   3    the right to use the Fairgrounds, a “public assembly facility,” to assemble and
   4    engage in political and other types of expression—a right Defendants extend to other
   5    members of the public so long as they are not meeting for the purposes of holding a
   6    gun show event.
   7          228. Defendants have no compelling (or even legitimate) governmental
   8    interest in banning the otherwise lawful (and constitutionally protected) sale of
   9    lawful firearms, ammunition, and firearm precursor parts at the Fairgrounds and all
  10    other state-owned properties, or in banning gun show events and, by extension, the
  11    rights of Plaintiffs to assemble and associate at the Fairgrounds and other state-
  12    owned properties otherwise open to the public. Any purported interest in “public
  13    safety” is betrayed by the fact that SB 264 and SB 915 do not ban the possession of
  14    firearms, ammunition, or firearms precursor parts on Fairgrounds property and state
  15    law already governs sales at gun shows at least as strictly as it governs sales at
  16    “brick-and-mortar” stores.
  17          229. Even if SB 264 and SB 915 served some sufficient government
  18    purpose, they are neither narrowly tailored nor the least restrictive means to serve
  19    that end.
  20          230. As a direct and proximate result of Defendants’ conduct, all Plaintiffs
  21    have suffered irreparable harm, including the violation of their constitutional right to
  22    free association and assembly, entitling them to declaratory and injunctive relief.
  23    Absent intervention by this Court, through declaratory and injunctive relief,
  24    Plaintiffs will continue to suffer this irreparable harm.
  25
                                  SIXTH CAUSE OF ACTION
  26       Violation of the Right to Equal Protection Under U.S. Const., amend. XIV
                                         42 U.S.C. § 1983
  27                         (By All Plaintiffs Against All Defendants)
  28          231.    Plaintiffs incorporate by reference paragraphs 1 through 231 of this
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                                   FIRST AMENDED COMPLAINT
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   1    Complaint as if fully set forth herein in their entirety.
   2          232.    Defendants, acting under color of state law, are enforcing SB 264 and
   3    SB 915, which deprive Plaintiffs of right to equal protection under the law secured
   4    by the Fourteenth Amendment of the United States Constitution in violation of 42
   5    U.S.C. § 1983.
   6          233.    On their face and as applied, SB 264 and SB 915 are unconstitutional
   7    abridgements of Plaintiffs’ right to equal protection under the law guaranteed by the
   8    Fourteenth Amendment because they are viewpoint-discriminatory and/or animus-
   9    based restrictions on Plaintiffs’ protected speech that serve no compelling
  10    governmental interest.
  11          234.    On their face and as evidenced by the legislative history of both AB
  12    264 and SB 915, it is clear that the laws’ purpose and intention are to make a
  13    “symbolic” gesture and a “value statement” about the otherwise lawful sale of
  14    firearms and related products and of the proliferation of the “gun culture” in
  15    California and elsewhere.
  16          235.    Defendants have no compelling (or even legitimate) governmental
  17    interest in banning Plaintiffs’ speech. Indeed, any purported interest in “public
  18    safety” is betrayed by the fact that SB 264 and SB 915 do not ban the possession of
  19    firearms, ammunition, or firearms precursor parts on Fairgrounds property and state
  20    law already governs sales at gun shows at least as strictly as it governs sales at
  21    “brick-and-mortar” stores.
  22          236. Defendants’ refusal to allow Plaintiffs equal use of the public facility
  23    while continuing to allow contracts for the use of the facility with other similarly
  24    situated legal and legitimate businesses is a violation of Plaintiffs’ right to equal
  25    protection under the law because it is based on a “bare desire to harm a politically
  26    unpopular group.” Moreno, 413 U.S. at 534.
  27          237. Further, SB 264 and SB 915 are not narrowly tailored to achieving the
  28    state’s dubious interests.
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   1             232. As a direct and proximate result of Defendants’ conduct, all Plaintiffs
   2 have suffered irreparable harm, including the violation of their constitutional right to
   3 equal protection under the law, entitling them to declaratory and injunctive relief.
   4 Absent intervention by this Court, through declaratory and injunctive relief, Plaintiffs
   5 will continue to suffer this irreparable harm.
   6
                                  SEVENTH CAUSE OF ACTION
   7        Violation of Right to Keep and Bear Arms Under U.S. Const., amend. II
   8                                      42 U.S.C. § 1983
           (By Plaintiffs Clark, Johnson, Littrell, Merson, Crossroads, CRPA, APAGOA,
   9             2ALC, and SAF Against Defendants Bonta, Spitzer, and District)
  10             233. Plaintiffs incorporate by reference paragraphs 1 through 232 of this
  11    Complaint as if fully set forth herein in their entirety.
  12             234. Plaintiffs Clark, Johnson, Littrell, Merson, Crossroads, and members
  13    and supporters of Plaintiffs CRPA, 2ALC, APAGOA, and SAF, have sold or bought
  14    firearms and/or ammunition at gun show events at the Fairgrounds in the past and,
  15    but for the adoption and enforcement of SB 264 and SB 915, they would do so
  16    again.
  17             235. Plaintiffs have a right, under the Second Amendment, to buy and sell
  18    firearms and the ammunition necessary for the effective operation of those firearms.
  19             236.   Defendants Bonta and Spitzer, acting under color of state law, are the
  20    government actors responsible for enforcing and prosecuting violations of SB 264
  21    and SB 915, which deprive Plaintiffs of their right to access firearms and
  22    ammunition secured by the Second Amendment of the United States Constitution in
  23    violation of 42 U.S.C. § 1983.
  24             237. Defendant District interprets, implements, and enforces state laws and
  25    policies in regard to the Fairgrounds, including SB 264 and SB 915, which deprive
  26    Plaintiffs of their right to access firearms and ammunition secured by the Second
  27    Amendment of the United States Constitution in violation of 42 U.S.C. § 1983.
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                                   FIRST AMENDED COMPLAINT
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   1          238. Defendants’ enforcement of SB 264 and SB 915, which prohibit the
   2    sale of firearms and ammunition at the Fairgrounds with the purpose and intention
   3    (or at least the effect) of banning gun show events at the Fairgrounds, violates
   4    Plaintiffs’ Second Amendment right to buy and sell firearms and the ammunition
   5    necessary to the effective operation of those firearms.
   6          239. Defendants cannot satisfy their burden to justify their ban on the sale of
   7    firearms and ammunition at the Fairgrounds under the history- and tradition-based
   8    test applied in Heller and recently confirmed in Bruen.
   9          240. As a direct and proximate result of Defendants’ conduct, all Plaintiffs
  10    have suffered irreparable harm, including the violation of their constitutional right to
  11    buy and sell firearms and ammunition, entitling them to declaratory and injunctive
  12    relief. Without intervention by this Court, through declaratory and injunctive relief,
  13    Plaintiffs will continue to suffer this irreparable harm.
  14                                   PRAYER FOR RELIEF
  15    WHEREFORE, Plaintiffs pray for:
  16          1.     A declaration that SB 264, codified at California Penal Code section
  17    27575, violates the free speech rights of Plaintiffs Clark, Johnson, Littrell, Merson,
  18    CRPA, APAGOA, 2ALC, and SAF under the First Amendment to the United States
  19    Constitution, on its face and as applied;
  20          2.     A declaration that SB 915, codified at California Penal Code section
  21    27573, violates the free speech rights of Plaintiffs Clark, Johnson, Littrell, Merson,
  22    CRPA, APAGOA, 2ALC, and SAF under the First Amendment to the United States
  23    Constitution, on its face and as applied;
  24          3.     A declaration that SB 264, codified at California Penal Code section
  25    27575, violates the free speech rights of Plaintiff Crossroads under the First
  26    Amendment to the United States Constitution, on its face and as applied;
  27          4.     A declaration that SB 915, codified at California Penal Code section
  28    27573, violates the free speech rights of Plaintiff Crossroads under the First
                                                   58
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   1    Amendment to the United States Constitution, on its face and as applied;
   2          5.      A declaration that SB 264, codified at California Penal Code section
   3    27575, violates the commercial speech rights of Plaintiffs Littrell, Merson, and
   4    CRPA under the First Amendment to the United States Constitution, on its face and
   5    as applied;
   6          6.      A declaration that SB 915, codified at California Penal Code section
   7    27573, violates the commercial speech rights of Plaintiffs Littrell, Merson, and
   8    CRPA under the First Amendment to the United States Constitution, on its face and
   9    as applied;
  10          7.      A declaration that SB 264, codified at California Penal Code section
  11    27575, violates the free speech rights of all Plaintiffs under the First Amendment to
  12    the United States Constitution because it imposes a prior restraint on their speech;
  13          8.      A declaration that SB 915, codified at California Penal Code section
  14    27573, violates the free speech rights of all Plaintiffs under the First Amendment to
  15    the United States Constitution because it imposes a prior restraint on their speech;
  16          9.      A declaration that SB 264, codified at California Penal Code section
  17    27575, violates Plaintiffs’ rights of assembly and association under the First
  18    Amendment to the United States Constitution, on its face and as applied;
  19          10.     A declaration that SB 915, codified at California Penal Code section
  20    27573, violates Plaintiffs’ rights of assembly and association under the First
  21    Amendment to the United States Constitution, on its face and as applied;
  22          11.     A declaration that SB 264, codified at California Penal Code section
  23    27575, violates the rights of all Plaintiffs to equal protection under the law per the
  24    Fourteenth Amendment to the United States Constitution, on its face and as applied;
  25          12.     A declaration that SB 915, codified at California Penal Code section
  26    27573, violates the rights of all Plaintiffs to equal protection under the law per the
  27    Fourteenth Amendment to the United States Constitution, on its face and as applied;
  28          13.     A declaration that SB 264, codified at California Penal Code section
                                                  59
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   1    27575, violates the rights of all Plaintiffs to keep and bear arms under the Second
   2    Amendment to the United States Constitution, on its face and as applied;
   3          14.    A declaration that SB 915, codified at California Penal Code section
   4    27573, violates the rights of all Plaintiffs to keep and bear arms under the Second
   5    Amendment to the United States Constitution, on its face and as applied;
   6          15.    A preliminary and permanent injunction enjoining Defendants, their
   7    employees, agents, successors in office, and all District Attorneys, County Counsel,
   8    and City Attorneys holding office in the state of California, as well as their
   9    successors in office, from enforcing SB 264, codified at California Penal Code
  10    section 27575;
  11          16.    A preliminary and permanent injunction enjoining Defendants, their
  12    employees, agents, successors in office, and all District Attorneys, County Counsel,
  13    and City Attorneys holding office in the state of California, as well as their
  14    successors in office, from enforcing SB 915, codified at California Penal Code
  15    section 27573;
  16          17.    An order for damages, including nominal damages, according to proof;
  17          18.    An award of costs and expenses, including attorney’s fees, pursuant to
  18    42 U.S.C. § 1988 or other appropriate state or federal law; and
  19          19.    Any such other relief the Court deems just and equitable.
  20
  21    Dated: November 11, 2022              MICHEL & ASSOCIATES, P.C.

  22                                          s/ Anna M. Barvir
                                              Anna M. Barvir
  23                                          Counsel for Plaintiffs B&L Productions, Inc.,
                                              California Rifle & Pistol Association,
  24                                          Incorporated, Gerald Clark, Eric Johnson, Chad
                                              Littrell, Jan Steven Merson, Asian Pacific
  25                                          American Gun Owner Association, Second
                                              Amendment Law Center, Inc.
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   1    Dated: November 11, 2022        LAW OFFICES OF DONALD KILMER, APC
   2
                                        s/ Donald Kilmer
   3                                    Donald Kilmer
                                        Counsel for Plaintiff Second Amendment
   4                                    Foundation
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